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                                    UNITED STATES DISTRICT COURT
                                      DI STRICT OF CONNECTICUT
                                         CIVIL RIGHTS COMPLAINT
                                               "AMENDED OJMPLAINT''
ANDRES R. SOSA.#260589
   Plaintiff(s)
v.
Corr Officer Christopher Sweet et al.                                 Case No. 3~20-CV-00382-VLB.
Corr Officer David Evans.                                                      "JURY DEMAND"
Corr Officer L'T Brian Stadalnik.
Corr Officer L'T Raun Kudzal.
Warden ROBERT MARTIN.
DOC Dir of Security ANIONIO SANTIAGO.
Corrigan Corr Health Svs admitiistrator-
RONALD J. IABONTE.
Corr Counselor MICHEI.l..E KING.
Corr Comnissary Lead Operator
KElTH STACK.
Corr CQmmissary Manager Supervisor
MIKKI PWS.
                                           A.PARTIES
1. ANDRES R. SOSA.#260589 iis a citizen of New York, Miami, Dom-Rep Whb
     (Plaintiff)                              (State)
presently resides at 900 Highland Avenue-Cheshire, Connecticut. 06410-1668.
                         (mailing address)
2. Defendant C/0 Christopher Sweet,. et al. is a citizen of Connecticut and/or RI
             (name of first defendant)                          (State)
whose address is 986 Norwich-New London TPKE--Uncasville, Conn. 06382.
and who is employed as Connecticut Correctional Officer for DOC
                       (title and place of employment)




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CONTINUANCE FROM FIRST PAGE                        , !. "A . PARTIES".

PETER J. MURPHY                                                          MICKEY GILLETTE
DISTRICT ADMINISTRATOR FOR DIST-II                               CORRECTIONAL-LIEUTENANT

JOSEPH IOZZIA                                                  MR , CHRONIN CORR~
CORR OFFICER LIEUTENANT                                        LIEUTENANT

CHRISTOPHER MUCKLE                                               MR, BAUER CORR-OFFICER
1st shift property officer
                                                        MS, COLLINS CORR-COUNSELOR
JEFFREY ZEGARZEWSKI                REHABILITATION PROCESS PROGRAMS & ADDICTION SVS
CORR DEPUTY WARDEN
                                                     TIMOTHY HALLORAN CORR-LIEUTENANT
SHARONDA CARLOS
CORR-WARDEN                                                  MR, MARKOVITZ CORR-OFFICER

STEPHEN FAUCHER                                    ANETA DHILLON CORR-REGISTER NURSE
CORR-WARDEN                                                      DONNA ADAMS CONAHAN
                                                            CORR-REGISTER NURSE BSN.
KRISTINE BARONE
CORR-WARDEN                                        KARA PHILLIPS CORR-REGISTER NURSE

ANGEL QUIROS                                   JENNIFER BENJAMIN RN, MSN , DPN , CLNC ,
CORR-DEPUTY ~COMMISSIONER                          CORR-HEALTH SVS PROGRAM DIRECTOR ,
                                                         HEALTH & ADDICTION SVS UNIT
MS , T.RArro;
CORR-COUNSELOR                COLLEEN GALLAGHER, MA , CADAC, CCHP, CORR-HEALTH SVS
                            PROGRAM DIRECTOR QUALITY IMPROVEMENT HEALTH SERVICES.
MR , DUMAS
CORR-COUNSELOR            MARY ELLEN CASTRO DNP, APRN , ASSISTANT DIRECTOR FOR THE
                          CLINICAL SERVICES FOR DOC CMHC/URC
JASON NEMETH
CORR-DISCIPLINARY         MS, EBERLE CORR-LIEUTENANT DISCIPLINARY HEARING OFFICER
OFFICER-INVESTI GATOR
J:;AURA PALMISANO    ( Dr . JOHNNY WU DIRECTOR OF UCONN HEALTH CLINICAL SERVICES
CORR-COMMISSARY ACCOUNT MANAGER )-----F_O_R_T_H_E_D_O_C_C_M_H_C-'-/_UR_C_ _ _ _ _ _ _ __
roR KEEFE GROUP COMPANY                                    JENNINE BRENNAN CORR-NURSE
                                       MEDICAL ADMINISTRATIVE REMEDIES COORDINATOR
SHANNON CATHER
CORR-COMMISSARY OPERATOR
                                                       Ri~S) ~,s':s)eY- Dt>S CORR-DENTIST
DONALD WILLIAMS
                                                               RICHARD P. BENOIT D.M.D
CORR-CAPTAIN
2nd shift commander
                         Dir  of Dental Services Corr Managed Health Care-(CMHC)
                                            University of Connecticut Health Center
EDWARD MALDONADO
                                          BARCELONA NUT COMPANY/KEEFE PRISON VENDOR
CORR-DISTRICT-2
                                          BALTIMORE, MD . 21223.
ADMINISTRATOR
                                                      KEEFE DISTRIBUTOR GROUP COMPANY
KIMBERLY DALY
                                                      ST . LOUIS, MO 63132
CORR-COUNSELOR
ADMINISRATIVE REMEDIES-
                                                               CORR - OFFICER MR, CASSIDY
COORDINATOR
                                                             CORR-COUNSELOR MS , D.CRANE
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CONTINUANCE FROM FIRST PAGE "A.PARTIES"

NEIL PERILLE
ASSISTANT ATTORNEY GENERAL

MOHEGAN TRIBES RESERVATION

NEIL KLINE
ATTORNEY FOR CHRO

RONALD McDANIEL
MAJOR CITY OF UNCASVILLE

SHANNON BOWER
CORRECTIONAL OFFICER

JOHN DOE
CORRECTIONAL OFFICER

MR . MORIN
CORRECTIONAL OFFICER


LV\'(is\\ Wt\ C.0v'{O\e \}\)'(,~~\:. , ~Y--~?~N-.
c~~~ \jU'{}.)S. ?Sfc\;,Ql-t,ric... N\b \?~D -,
Ra tlXt Bt'(9ex:> 'P.Sf(,,\\~tlt~L N\\),}?m) .
hN&fP,CL c... Re1sc\\e.x:L, ?\\t\\~LN s- ~c 1?s1·0t,.\~u·tc l\?'R.~.
                              CXlNTINUANCE FROrt
                 Case 3:20-cv-00382-SVN          SEx:::'I'IOO:
                                           Document            (A) • 09/15/20
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Second defendant: stay that way for months to a year or more, c/o Evan violated my 14th, 8th, &-
1st Amend to my U.S. Const Rights , he is being suit in his Individual & Official capacities as an
employee for the S~te of Cbnn IX)C & as an employee for the town of Uncasville, Conh.

  4). Defermnt: CORRECI'IONAL LIEUTENANT OFFICER BRIAN STADAUJIK, is a citizen of: Connecticut
                 N~e 0 ~ 3 <e> oe<_·e ~\Sl::.                                      (state)
  Whose Address is 986 Norwich-New London TPKE Uncasville, er. 06382
  and who is employed as the State of Connecticut Corrupt IX)C custody supervisor for the twon of-
  Uncasvil le Conn.
                                    (title and place of employment).
  At the time the claim(s) alleged in this oanplaint arose, was this defendant acting under color
  of state law? XX Yes. If yes. briefly explain:
  On June 16, 2016 on/or around 3:30 P. M Stadalnik came to my cell we two of his subordinates
  while I was housed in H-108 cell & unit at Corrigan CC I was scort to the jail A&P where this
  defendant is the manager if that area and a custody supervisor he not only had the power but he
  at all times had the authority to order his subordinates not to do what they did to me, but
  instead he did approved all & every moves his subordinates in his eyes did to me he was present
  On 11/16/2015 when I was transfered to that rison from #136- Garner C.I with a broken ri ht hand
  he was there when on 11 16 15 his subordinate 2nd shift ro     t c o Raun Kudzal did inventor
  m    rsonal ro ty and allowed me to kee the snekeakers black Nike H          fusions co Sweet &-
  Evan took from me and he did nothing he also did nothing On 11 16 15 about my broken right hand
  in which I didn 't get no treabnent at all there not even ice to put on in which I was force to
  carry around 200 pounds of my on personal property to the A-unit I was going to be housd at. so
  this defendant at all times was prsent there aware by having a c l ear state of mind as to the
  wrong done to me and instead co- conspired with his subordinates to violated my U.S. Const Rights
  His being suit in his Individual & Official capacies as a LOC employee and as An employee for the
  twon of UncasVille.
  5) . Defendant: Corr Officer RAON KUDZAL, is a citizen of: Connecticut
                 ~~ e ~ 4-t.V-: l;)ete,~So..+Sb                 5)
                                                             l st
  Whose Address is: 986 Norwich- New London TPKE Uncasville, CT.a 6382
  and who is emplyed as: a Conn Corrupt IX>C Officer for the town of Uncasville Conn.
                                   (title and place of employment
  At the time claim(s) alleged in this complaint arose, was this defendant acting under color of
  state law? XX yes. If yes briefly explain:
  Kudzal at the time was the 2nd shift property officer who on 11-16-2015 when the plaintiff first
  transfer there from #136-garner C.I, Kudzal did inventory the plaintiff personal property and
   ive the laintiff the roperty kudzal did authorized for the laintiff to have and one of U~~
  those things were the bl ack Nike Hyperfusion sneakers left leg lift and soles co christopher-
  sweet did confiscated on 6-16-16 from the plaintiff and issued the plaintiff a class "B" offense
  disciplinary report for contraband for sane shoes he allowed the plaintiff to keep while at
  Corrigan c.r and which sneakers the plaintiff had with him already while housed in general
     ulation there for almost ei -( 8) months & which sneakers they had invento , check and at
  the same time search before by him and his co-workers co sweet & co evans plenty of time
  during court trip's & even inmate property matrix inventory in the unit's and never it was any
  issues, so he could had stop his co-workers from doing what be allowed them to do to the
  plaintiff do to the simple fact that at al l times he was the only authorired officer to do any
   re - t derivation since        the rison de ut warden in char ed assi ed him to do so on 2dn
  shift and not co sweet or co evan who were only assigned to admission and strip search one
  of each. C/o KUDZAL is being sued in his Individual & Official Capacities as a IX)C employee and
  as an employee for the twon of Uncasville er.


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                         CONTINUANCE FROM SECTION: (A). PARTIES
6). Defendant: Warden Robert Martin, is a citizen of: Connecticut
                  Name of 5th defendant                           State
Whose Address is: 1106 North Avenue Bridgeport CT. 06604.
and who is employed as: a DOC/Warden for the Connecticut State for the town of-
Uncasville Conn at the time the plaintiff Const Rights Violations Occured, and-
now he is at the town of Bridgeport Conn.
                                (title and place of employment) .
At the time the claim(s) alleged in this complaint arose, was this defendant -
acting under color of state law? XX Yes. If yes briefly explain:
On November 16, 2015, June 16, 2016, until the plaintiff was transfer out On June 5th, 2017 to
#125-Cheshire c.r the defendant was the duputy warden of operations, and the facility incoming
property review coordinator-(FIPRC) as permitted by the Conn IX)C Commissioner, pursuant to the
Administrative Directive 6. 10 Inmate Property Sec: (3)-(C), and per the warden, he was responsi-
ble for the authorizing or denying of all request for incoming property items, including but not
limited to, outside tapes and compact disc's. His is being suit in his Official and Individual-
capacities.
7) . Defendant: AN'IOOIO SANl'IAOO, is a citizen of: Connecticut
               Name of 6th defendant                 State
Whose Address is: 24 Wolcott Hill Road, Wethersfield er. 06109
and who is employed as: The Director of security for Conn IX)C for the town of Wethersfield and
at the time the plaintiff Constitutional rights violations did occured he was employed as the
Corrigan CC for the town of Uncasville Conn
                                    (title & place of employment)
At the time the claim(s) alleged in this complaint arose, was this defendant acting under color
of State law? XX yes If yes briefly explain:
On Nov 16, 2015 & On June 16, 2016 until the plaintiff was tranfer out on June 5th, 2017 to #125-
Cheshire c.r. the defendant was the warden at Corrigan c.c. he as the chief in charged and Unit
Administrator of the prison fail ed to remedy & correct the wrong as respondeat superior he was
put on notice by the plaintiff of his subordinates wrong doing verbally, by reports, & appeals
filed by the plaintiff, since he was the last person to which his administrative remedies
coordinator ' s report all the investigator 's for grievances & property claims filed by inmates at
his jail. he was aware thata his subordinates took away the plaintiff first and 2nd pair of
sneaker's, lift & insoles, which items the plaintiff showed this defendant proof of evidence, the
plaintiff had all those items when this defendant used to be the deputy warden of Operations
there back in 2010. e.g. , plaintiff had the white Jordans-sneaker, lift & insoles confiscated on
11-16-15 he did nothing about it he was aware of the plaintiff serious medical needs e . g . s ,
broken hand, spine injuries, he knew that plaintiff had a settlement agreement to order sneaker ' s
side 12- c from an outside vendor as they ' re unavailable at the commissary, he denied the
plaintiff from ordering )))))))))))

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                                           "A-PARTIES"
CONTINUANCE FROM PAGE-2 SECTION: (3) DEFENDANT
Continuance from defendant No. 6: His size of Sneakers from eastbay, by making false-
statement ' s that commissary sale plaintiff size when evidence showed not to. He failed to
order his subordinates to release the plaintiff sneaker' s, left leg lift, & arch support-
insol es his subordinates are stil l holding in property till this date, he failed to take
care of plaintiff medical needs & as a result the plaintiff have sustained permanent physical
injury, e.g ., Pinched-nerves to his spine, Disc Damage with injuries are for life requiring
daily pain medication treatment. HE IS BEING SUIT IN HIS INDIVIDUAL & OFFICIAL CAPACITIES, as
an employee of DOC for the State of Connecticut, & as an Employee for the towns of Uncasville-
& Wethersfield, in Connecticut.
8). Defendant: Ronald J. LABONTE, is a citizen of: CONNECTICUT
                rme of 7th Men:lant                     (SOOE)
Whose address is: 986 Norwich- New London TPKE Uncasville, CT. 06382. and who is employed as:-
A negligible nurse for the state of Conn, DOC with a jail/prison title as Health Services-
administrator a job title not recognize by the Conn Department of Public Health. he work ~t
the Town of Uncasvill e Conn at Corrigan Correctinal Center at the time that the plaintiff-U.S.
Constitutional Violation's Cc.cured.
                                    (title and place of employment) .
At the time claim(s) alleged in this compl aint arose, was this defendant acting under color
of State Law? YES. If yes briefly explain: He was the supervisor for the medical Dep't at
Corrigan CC, his job as a health Svs administrator for the Dep't was to make sure patients are
getting the medical care t reatment required & met all their needs, his job was to make sure I
get the treatment I need & assist me in getting it by contacting the director or assistant
director at Uconn Health Center and let them know my needs, he had the power to authorize for
me to have my sneakers, leg lift, & soles or allow me to just reorder my sneaker' s & order a
New leg-lift. even though he posses the power of authority inside this prison wall's over a
real Doctor who have a better education, but due to the prison custom policies & polity e .g.,
they CMHC/URC would have a published list in the computer that will tell any Doctor ' s in DOC
what to or not to prescribed to the prisoner even if the prisoner need it, making it impossible
for a Doctor to provide a treatment that amount to the community standard. but instead he
chose to not do that i.e., deciding not to help the plaintiff to get the proper medical
at tention, treatment & medical equipment the pl aintiff need. he did co-conspired with custody
and co- signed all their denial & rejections e .g., access to outside sneakers, & much more.
HE IS BEING SUIT IN HIS INDIVIDAUL & OFFICIAL CAPACITIES, AS A DOC EMPLOYEE & AS A UCONN HF.AL'Ill
EMPLOYEE & AS AN EMPLOYEE FOR THE TOWN OF UNC'ASVII.LE.

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                              CONTINUANCE FROM SECTION:                 A. PARTI ES"

9) . Defendant: MIOIELLE KING, is a citizen of Connecticut
                ~ "'-I;; 'o.&c¼i'-t•~u,A;     (State)
Whose address is 986 Norwich-New London TPKE Uncasville, er. 06382
                          N'-C,..J\i,;t->'( <iA..c!..~'(es.s
and who i s employed as: Cof L_egl.o~
                                 e di
                                        ~unsel~r
                                         c.La.t e o
                                                     Ofticerrjr IXlC
                                                    a1voyne11
At the tme claim(,s) alleged in this complaint arose, was this defendant acting under color of
state law? XX Yes. If yes briefly explain: at the time she was a corr counselor officer at #1~0-
Corrigan CC and also was serving as the inmates grievances administrative remedy coordinator, who
job on that field is to be the warden eyes and served as his/her investigator for any internal
complaint inmates ' file against staff, property items, prison confi nement and then she will bring
her finding over to the warden to sign off on her investigation and disposition issued by the
coordinabDr, her.
Counselor Ms . KING did violated the pl aintiff due process procedure, at the same time in a
discriminatory and retali atory manner deprived the plaintiff of equal protection of the law in
the manner describe as follow: she di d denied, rejected, or just not process at all every claim
the pl aintiff filed against the other defendant s , e . g ., staff conduct grievances, I.ost/Damaged-
Property Investigation Form C'N 9609 , her excuse of many was oh you-(plaintiff ) must attempt
infonnal resolution before filling i t , write to A/P Supervisor. who at the time was defendant-
Stadalnik, I told her plenty of time that I had wr<f>t~ to every singl e soul she did direct me to
wri te pri or of me filling my claims , and that none of them did return back any reply.
I give every defendant I wrote the 15- business days prior of me filling the grievances and Ms.-
King did r eturned me back without dispositi on-(RWD)   every gri evance I filed against every singl e
one defendants mention in this claim, she denied me the right to exercise my right to expression
she did throw away sexual ly none pictures I got rejected by mail room staff after I did provided
a self address envelope to be mail to an attorney of ILAP it never got there she claim it was not
my pictures cause the pictures where never in my position even though I paid for it out of my
inmate account, she did unlawfully did placed me on 2-23-16 until 8-23-16 and had defendant Mr.-
Santiago signed on it. I appeal to the Di st Adm At the time defendant Peter J . Murphy who on -
3-16-16 did denied my appeal even though I provide evidence to had filed less grievance then the
ones Ms . King claimed I did filed which she stated to be a total of seven-(7) .
as soon CC Ms. King was removed as grievance coordinator as well as CC Ms. Kimberly Daly, every
singl e grievance I file or property claim it was rul ed in my favor even though the warden defen-
dant Santiago denied t o came in to a compr©lllise settlement. I do understand the fact that Ms. King
might has been under presure by her coworker due to the fact she is afemal e working in a male
environment, don ' t want t o acted like she i s against them, but also that she just happen to be
out of a drug rehab for heroin used, her baby father a hispanic puerto rican mal e did died out of
an overdose around the sametime she was on the r ehab process on methadone and where they did or
used to reside that town of Willimantic aka Wil liRico & the heroin capitol city on the U. S. at
some J;X.>int, but still even though there are others correctional with issues , I the pl aintiff did
still need it my sneakers & medical devices ', instead she did coconspired with he coworkers and
supervisors ,
she did lied during the course of and investigation, alter & falsify documents, all while acting
under color of state law this is enough for her to be di smissed of her duties as a correctional
officer, e . g ., she wrote that my Jordan sneakers were mailed home based on safety and securit y,
per my request and I can show she lie and both of my sneakers plus other property items are still
being held at Corrigan CC still til thi s day they have hold & kept my property hostage and do not
want to release it.
The defendant ' s property appeal and grievance process is discriminatory and violate, denied due
process procedure in a reasonable manner, since it doesn ' t allow enought time for exhaustion any
property at any prison level statewide only give you thirty- (30 ) days to hold your property and
you to provide them with a mailing address or your stuff will be lost/destroy so I . , ,:T, .:.. ::: ,

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                             CONTINUANCE FRa-1 SECTION: "A.PARTIES"
6e force to mail my property out the prison when my appeal process are still going on is a 120-
days process to be completed, therefore if the district administrator happen to upheld my
appeal my property will be already gone so I lose anyway. The policy alone violated my due
process. S'te\>lard''V. t-k.Ginnis, 5 F.3d at 1037; Farid V. Smith, 850 F.2d at 925 (evidence that -
prison officials made prisoners send alleged contraband out inmediately and routinely denied
 their subsequent grievances raised a factual question whether due process was violated).
Correctional Counselor Ms. KING, did subjected the plaintiff to cruel & unusual punishment,
did in fact cause permanent physical damage & injuries to the plaintiff, did co-conspired with
her co-workers in doing so, she is being suit in her Individual & Official capacities, as a
DOC employee and as ·an empl oyee for the town of Uncasville Conn.
10. Defendant: KEITH STACK, IS A CITIZEN OF CONNECTICUT
-.-             m1E of 9thJefa:rlmt.              (State)
Who address is: Cheshire Corr Inst 900 Highland Ave, Conn. 06410.
and who is employed as: a Conn DOC lead Commissar O erator.
                                      title and pace of employment
at the time claim(s) alleged in this complaint arose, was this defendant acting
under color of State Law? XX ,Ye~. If Yes briefly explain: Mr, STACK was the lead conmissary
Operator for District- 3 who sale commissary to all prison on that District on behalf of the
KEEFE Group Company Distributor 1 s located in the town of Niantic Conn. his job included saling
items to Inmates for their basic human need's e.g., FOOD, FOOT-WEAR, CLOTHING, HYGIENE ITEM'S,
all item's protect by the U.S. Constitution 8th amendment . Mr. STACK is being sued in his
Individual and Official capacities as a DOC employee and as an employee for the town of Niantic,
and for the town of Uncasville Conn.
11. Defendant: MIKKI PLUS IS A CITIZEN OF CONNECTIClJr
               raie of 10th ~                  (State)
             lhla:rlant.
-c;}ho .address is: 201 West Main Street, Niantic,CT. 06357. Tel: (860 691-6967.
and who is employed as: a Conn DOC Cormnissary Operator Supervisor Manager for Dist rict-3, in
                            the town of Niantic Conn.
                            (title and place of employment)
at the time claim(s) alleged in this complaint arose, was this defendant acting under color of
State Law XX Yes. If yes briefly explain: Ms, PLUS is the manager for commissary Dep't serving
Corrigan Corr Center she was defendant KEI'IH STACK boss her jod is to managed the warehouse
that sale basic human need's item's to inmates e.g., FCX)'IWEAR, etc on behalf of the KEEFE Group-
Company Distributor' s, she is to make sure those basic human need's item' s are available someway
some-how. since those hygiene item' s are protect by the U.S. Const 8th Amend. she is being suit
in her Individual And Official capacities as a DOC employee and as an employee for the town's
of Niantic and for the town of Uncasville, CONN.
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                                                                             'l"Boo'1,i)>
                             ClX'll'INUANCE FRCN SEx:TION: "A. PARTIES"

12). Defendant: LAURA PAIMISANO is a citizen of      New Jersey     '1 Eil:, (,     '2.48- '2.~ 7-:>
                  name of 11th                      (State)
                  Defendant                                                        ~'¼-~• "11..i
whose address is 301 Mill Road F.dison, NJ 08837-3814.               -r~...,..: ( '>~
                                                                              7    2..u.i-(oqqs
and who is employed as an Account Manager for the Keefe supply company/Keefe COmmissary Network
                            (title and place of employment)
At the time the claim(s) alleged in this complaint arose, was this defendant acting under color
of state law? XX Yes. if your answer is "Yes," briefly explain:
Keefe is the major supplier for the commissary warehouse's here in the Connecticut State under-
axitract Award No.: OJPSX.0264 Contract Value: $27,000,000.00, these peoples are the major-
Contractor under contract with the State of Connecticut Deparbnent of Administrative Services,
who is consider to be acting under color of state law due to this contract as permit by law
therefore according to the contract the Contractor(s) shall not make any unauthorized substitut-
tions, unless or until the contractor has successfully contacted the Commissary Service's
Manager (860-692-6886) for this contract and present the products and received permission for the
substitutions. as the 3rd party beneficiary herein stated that it is hard to believe that the
defendants was going to be able to get the plaintiff size 12-c if their vendor ' s within the same
contract do not stock this size and doing any purchase out of this contract will be consider to
be a breach of such.
this showed clearly that the defendants at all times didn ' t had the minumum intentions in getting
the size the plaintiff need it from the start it seen that their were just giving the plaintiff
the run around, why-(?) , only the defendants have the answer. Ms. PAIMISANO is being suit in her
Individual & Official capacities, while acting in her official capacity and exercising her
responsabilities pursuant to state law since as a wrong doer she is clothed with the authority
of state law, is action taken under color of state law. Screws V. U.S., 325 U.S. 91, 111, 65 S.ct.-
1031 (1945); accord, IAlng Vang V. Vang Xi.on X. 'lbyed, 944 F.2d 476, 479 (9th Cir. 1991)-
(ffle Supreme Court has also equated "color of law" with the "pretense" of law. Id.
People and corJ?Orations who work in the prison or perform required services forprisoners act
under color of state law even if they are private contractors and not empl oyees . Islam V. Jackson-
782 F.Supp. 1111, 1113 (E.D. Va. 1992)(private food services canpany that provided jail food acted.-
under color of law. PALMISANO IS BEING SUIT IN HER OFFICIAL & INDIVIDUAL CAPACITIES AS AN EMPLOYEE-
                     OF IX>C FOR THE STATE OF UJNNECTICUT. & AS A RESIDENT OF THE STATE OF NJ.
13). Defendant: PEl'ER J. MURPHY, is a citizen of Conn
                name of 12th                       (state)
              . Defendant
whose address is 944 Highland Ave, Cheshire, er. 06410
and who is employed as District 2 Administrator for the IX>C
                       (title and place of employment)
At the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of state law' XX Yes. if your answer is "Yes," briefly explain:
The defendant know me for over a decade he was the warden At #137-Macdougall C.I in the town of
Suffield, er. and most of my almost 23 years of incarcerration I spend it there when I was
transfer out of that facility he was still the acting warden there, then at the time I was at -
#140-Corrigan CC he was the active District Administrator there. He is being suit in his -
Individual & official capacities as an employee for the Conn IX>C, and as an employee for the
town of suffield, Uncasville, & Cheshire, Conn.


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                          CONTINUANCE FROM SECTION: "A. PARTIES"
14) . Defendant: JOSEPH IOZZIA, is a citizen of Conn
                        name of 13th                                 (state)
                        Defendant
whose address is 9$& NORWicb-~e.w'.LotJAeiw, i:-}?.~Uuc»-§.\J\\\e.,c...-C.b(o~&1:-
and who is employed as 9.., CC>tfupt DOC lieutGi!nant c~ "1\\\3 S,a.A:..12.. 0£ c,,::J:
                                       (title and place of employment)
at the time the claim ( s) all~~ in this complaint arose, was this defendant
acting under color of state law XX y~§~ if your answer is "Yes," briefly explain:
he is lieutenant was the unit manager when the plaintiff was transfer there in F-unit he used to
be a 2nd shift property c/o there as well back in 2009 and he knew what the plaintiff had there
before and every single personal property item that it was confiscated by the defendant ' s there
the plaintiff had the same items there in 2009 when Iozzia was the property officer, it could
it be that the defendant it is now retaliating since this is going to be the 2nd time that the
plaintiff had sued this individual for taking away my property which i t usually happen when you
get transfer there or when you be placed in segregation cause that is the only time the coward
have full access to your property by they self to do as they please.
Defendant Iozzia is being suit in his Individual & Official capacities as an employee for the
Conn IXJC, and as an employee for the town of Uncasville CT.
15). Defendant: Christopher Muckle is a citizen of Conn
                   name of 14th dc-afend;Jnt                  lstate)            .., o '2.-
whose. address is~·9 .~ N9~W,Ol\~w.E\N~~An.a -i:£'t.E{ ~\l~\J\ \\e,., C...-r, c<t,~ i>
ancn;,ho J.S emp1.o)!1l6, o.:S '°'--"·~S~Jt (.«TI~Eionaui~ew rOff:J..cen
                                (title and pl ace of employment)
at the time the claims(s) alleged in this complaint arose, was this defendant acting under color
of state law? XX Yes. if your answer is "Yes," briefly explain:
He is the 1st shift property officer at #140-corrigan CC and had the power if he choose to do so
to release the plaintiff sneakers at least the medical devices lift, & insoles but instead he
choose to agreed with his supervisor & co-workers as the record show defendant Iozzia contacting
Muckle as to coach him about not allowing the plaintiff to get any shoes/sneakers , not the
ones they're still holding, not to order no new pair. Muckle is being suit in his Individual &
Official capacities, as an employee for the Conn IXJC, and as an employee for the town of Uncasville..
C., .
16). Defendant: JEFFREY ZEX;ARZEWSKI is a citizen of Conn
                   name of 15th defendant                      (state)
Whose address is 201 West Main Street Niantic, er. 06357
and who is employed as A Deputy Warden Corr Officer who area of responsibilities are Programs &-
                             treatments, e.i., medical, basic human needs like sneakers, rehabilitation-
programs, food, & others
                                    (title- and place of employment)
at the time the claim(s) alleged in this complaint arose, was this defendant acting unders color
of state law? XX Yes. if your answer is "Yes," briefly explain:
Defendant zegarzewski duties within his area of responsabilities was to make sure the plaintiff
receive proper medical treatment, footwear, rehabilitation programs, and things like it or similar
but instead he choose to conspired with his coworker ' s i.e. , superiors & with his subordinates
e.g. , like to speak with defendant's Ronald J . Labonte who was his prison health services admin-
istrator, with defendant Mr. Stack & Ms. Plus of c:xmnissary to see why they can't get or can get
the plaintiff proper size footwear, to order property defendants to release the plaintiff sneakers
they still have in captivity, to make sure I was given imnediate medical outside care for my right
hand as soon he was put on notice. but instead he pennit the plaintiff to suffered physically &
mentally. this defendant is being suit in his Individaul and Official capacities as an eployee for
Conn IXJC ain as an enployee for the town of Uncasville, CT.
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                            CONTINUANCE FROM SECTION: "~.PARTIES"

17). Defendan: SHARONDA CARLOS, IS A CITIZEN OF Conn
                   Name of 16th defendant                (State.)
Whose ad<;kess is: 944 High] and /we· Oteshire;· -Gt. !·06410. .:··' ,-~ -i
and who is employed as:      District: Admioistx:ator • · - ·
                                    (title and place of employment)
at the time claim( s) alleged in this complaint arose, was this defendant acting under color of
State law, XX yes. if your answer is "YES" briefly explain:
At the time the plaintiff unconstitutional violation arose she was the correctional counselor
Supervisor at Corrigan c.c for the town of Uncasville er, she was in charged as the coordinator
for the American Disabilities Act in that prison who Inmates ' write to requesting any need it
accomodations, he was one of the main custody staff, who duties was to make sure I get the proper
size foot wear, lift, and any medical need ' s I the plaintiff was in need of, but instead she denied
and failed to process any of the plaintiff request for aid in regard of his medical needs, if you
ask me I don ' t believe she knew what she was doing or need it to do. she was in the area of
responsibilities to ensure inmates get proper programs and treatment, e.g., medical, basic human
needs, clothing, food, rehabilitation programs, and other ' s I don't even think she was trained
for those duties she was only given the title. she did co-conspired with her co-workers to deprived
the plaintiff of his u.s. Constitutional Right's. resulting in the plaintiff getting permanent
life injuries for life.
She is being suit in her Irrlividual & Official capacities as a IXJC employee and as an employee for
the ta,,n of Uncasville ct.

18) . Defemant:   Stephen Faucher , is a citizen of Coon
               name of 17th defendant               (State)
Whose address is : 59 Hartford Road Brooklyn ct. 06234
and who is employed as: The Warden/Unit Administrator
at the time the claim(s) alleged in this complaint arose, was this defendant acting under color
of state law_!!_yes. if "YES" briefly explain:
This defendat became the new Warden after defendant Antoni Santiago, I let this defendant know
about what has been going on, about me needing to be allow to order my size 12-C sneakers from an
outside vendor, about the lack of medical treatment I wasn ' t getting for my serious medical needs,
about the lack of my tint glasses, he denied me legal calls to my embassy, on 5-11-17 so he did
co-conspired with his subordinates Corr Counselor Supervisor MS. LACY, Corr Counselor-(CC) Ms. K. -
Daly, CC Ms. M. King , by saying is not a legal call to call my embassy or the general counsel of
the Dominican Republic , by denying my grievance 's . He is being suit in his Irrlividual and Official-
capacities as an employee of IXlC for the State of Conn and as an employee for the town of
Uncasville at the time the <Xbstitutional Violation did take ,1 9 ~ f>\()..C....~ •




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                              CONTINUANCE FROM SECTION: "A.PARTIES"
19. Defendant: DONALD WIILIAMS, IS A CITIZEN OF CONNECTICUT
              t-are of 18th Memant                    (State)
Who address is: 986 Norwich-New London TPKE Uncasville, er. 06382.
and who is employed as: C.orr Officer Captain second Shift C.onmander, his responsibility is to
                            C.orrmand all and every officer's on that shift nothing can take place
can take place in the institution without his authorization first since he is the higher rank
officer in the whole institution who ive the order' s
                                      tit e and pace of employment
at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of State law? XX Yes. If Yes briefly explain: He is the 2nd shift commander for the
Corrigan C.orr Center a Captain who back in 2009 when he was a lieutenant back in 2009 he was
very familiar with the plaintiff and the plaintiff personal property items and issues since
he was assigned by former deputy warden chris corey to handled any issue's that rise in that
facility in between the plaintiff and any staff's and/or his subordinates since he was also
the lifer's group program coordinator.
Mr. Williams is being suit in his Individual and Official capacities as an employee for the
of C.onn DOC, and as an employee for the town of Uncasville.
20. Defendant: KRISTINE BARONE, IS A CITIZEN OF CONNECTICUT
                ~ of 19th Merrlant                   (State)
Who address is: 1153 Fast Street South-Suffield, er. 06080.
and who is employed as: C.orr Officer Deputy warden who ·area of responsibilities are programs-
                            & treatments, e.g., Medical care, Basic Human nead's protect by the 8th-
amend to the U.S. Const such as Rehabilitation ro rams fodd etc.
                                      title and place of employment
at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of State law? XX Yes . If Yes briefly explain: Ms. BARONE since 2009 was very familiar
with the plaintiff since at the time she was a counselor supervisor and the plaintiff unit
manager. she was very familiar with the plaintiff personal property, e.g., Sneaker's, tint- I
glasses, medical needs for sneaker's & more she move up to the DOC FOI ADMINISTRATOR plaintiff
spoke with her over the phone few times as such administrator, she then moved up to the rank of
deputy warden did work at other facility & she then end up returning back to Corrigan CC as a
Deputy Warden still, that give her the power and authority within her area of responsibilities
she knew the plaintiff was right & her subordinates were wrong only abusing their power of
authority over the plaintiff, she could have make things right is she want it to do so but
instead decide no to. She is being suit in her Individual & Official capacities as a C.onn DOC
employee and as an employee for the town's of; UNCASVILLE, WEI'HERFIELD, HARTFORD, and now for
the town of SUFFIELD.
21 . Defendant: ANGEL QUIROS, IS A CITIZEN OF CONNECTICUT
              N:ne of Z>th-                       (State)
             tefarl:nt
Who address is: 24 Wolcott Hill Road, Wethersfield, er. 06109.
and who is employed as: De ut Commissioner for the Connecticut DOC
                        tit e and place of emp oyment
at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of State law? XX Yes. If Yes Briefly explain: at the time he was the District Administra-
tor who area of responsibilities was to review inmates administrative remedies appeal's, -
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                               CONTINUANCE FR<l1 SECTION: "A.PARTIES"
report's, e.g., Disciplinary appeal's, SRG-appeal' s, Inmates Grievance Level's 1 & 2 appeal's
amount other's.
Mr. QUIROS is being suit in his Individual & Official capacities as a Conn DOC employee and
as employee for the town's of UNCASVILLE, WETHERSFIELD, SUFFIELD, CHESHIRE.
22. Defendant: Ms. Eberle, IS A CITIZEN OF CONNECTIClIT
                  Nire of 21st-               (State)
                  U:farlant
Who address is: 24 Wolcott Hill Road, Wethersfield, er. 06109.
                                                          officer for the DOC.

at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of State law? XX Yes. If Yes briefly explain: She was the Disciplinary Hearing Officer-
(Herein and after OHO) On June 29, 2016 for the hearing in regard of the disciplinary report
report No.: CRCC1606061, by defendant Correctional Officer CHRISTOPHER SWEET, offense Class- B
Contraband for my own authorized sneakers he confiscated from the plaintiff in June 16, 2016 .
She is being suit in her Individual and official capacities as a Conn DOC employee for the State
:-ii•.i:! of Conn, and as an employee for the towns' of uncasville, and Wethersfield, Conn.

23. Defendant: JASON Nll-1Elll, IS A CITIZEN OF CONNECTIClIT
                   Name of 22nd-                 (State)
                   Defendant
whose address is: 986 Norwich-New London TPKE, Uncasville Conn.
and who is employed as: Correctional Officer Disci linar Investi ator.
                              title and place of employment
at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of State law? XX Yes . If Yes briefly explain: During the time defendant Officer Mr. -
SWEET issued this plaintiff a Disciplinary Report-(herein and after DR) report No.: CRCC1606061
class-B offense contraband for the al ready authorized sneaker' s.
B~ is being suit in his individual and Official capacities as a DOC employee for the State of
Conn, and as an employee for the town of Uncasville, Conn.
24. Defendant: Corr C,mmselor Ms. RAMOS , IS A CITIZEN OF CONNECTICUT
              Name of 23rd Defendant                      (State)
Who address is: 986 Norwich-New London TPKE Uncasvill e, CT. 06382
and who is employed as: a Conn Dep't of Correction Counselor
                        (title and place of employment)
at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of State law? XX Yes. If yes briefly explain: She was the plaintiff advocate that this
plaintiff did choose to served as investigator on behalf of the plaintiff to investigate the
false accusations against the plaintiff in regard of the DR issued to this plaintiff by her
co-worker defendant CHRISTOPHER SWEET, for contraband DR-report No.: CRCC1606061 .
she is being suit in her individual and official capacities as an employee for DOC in the
State of Conn, and as an employee for the town of Uncasville, er.




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                             CONTINUANCE FROM SECTION: "A.PARTIF.s"

25. Defendant: Corr Counselor Mr. DUMAS, IS A CITIZEN OF CONNECTICUT
               Name of 24th Defendant                        (State)
Whose address is: 986 Norwich-New London TPKE Uncasville, er. 06382
and who is employed as: a Conn Dep'.t of Correction Counselor
                        (title and place of employment)
at the time claim(s) alleged in this compl aint arose, was this defendant acti ng under
color of State Law? XX Yes. If Yes briefly explain: On June 29, 2016 the date of the plai nti ff
Disciplinary Heari ng due to the DR Report No.: CRCC1606061 issued by defendant Mr. SWEET
defendant DUMAS did replaced the advocat e- (defendant Ms . RAMOS) choose by the plaintiff to
served as his representative.
he is being suit in his Individual and Official capacities as an employee for DOC in the
State of Conn , and as an employee for t he town of Uncasville , CT.
26. Defendant: Corr Counselor Kimberly Daly, IS A CITIZEN OF CONNECTICUT
               Name of 25th Defendant                            (State)
Whose address is: 986 Norwich-New London TPKE Uncasville, er. 06382
and who is employed as: a Conn Dep',t of Correction Counselor
                           (title and place of employment)
at the time claim(s) all eged i n this complaint arose, was this defendant acting under col or
of State Law? XX Yes. If Yes briefly explain: at t he t ime she was my unit correctional
counselor, and the administr ative remedy coordinator, for the prison at #140- Corrigan CC
assigned to performed such task by the warden-(defendant ANTONIO SANTIAGO) her area of
responsibilities was to conduct any investigation against any of her co- wor ker' s filed by the
prisoner(s) e.g., grievances under the Pl.RA, lost/damages property investigation claim's and
document her findings, issued her dispositions report it to the warden so the warden can
si gned off on her founding /report's.
The dispositions can be any of the followings : REJECTED, DENIED, COMPRIMISED, UPHEill.
she is being suit in her individual and official capacities as a DOC employee in the State
of Conn, and as an employee for the town of Uncasville, er.
27. Defendant: Jennifer Benjamine\ RN, MSN, DPN, CI.NC, I S A CITIZEN OF CONNECTICUT
               Name of 26th Defen ant                                       (State)
Whose address is: 2t.tWolcott Hill Road, Wethersfield, er. 06109
~:Hcl who is employed as: The Correctional Health _S ervices Program 'Director, ~Health and
                          Mdiction Services~ for the entire Conn DOC
                          (title and place o employment)
at the time claim(s) alleged in this compl aint arose, was this defendant acting under col or
of State Law? XX Yes. If Yes bri efly explai n: she is in charged of the Conn DOC Health -
Services the programs director, as well for the Health & addiction services unit at the DOC
central offi ce.
she is being suit in her Individual and Official capacities as a DOC employee in the State
of Conn, and as an employee for the town of Wethersfield., ,CT.




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                          CONTINUANCE FROM SECTION: " A.PARTIES"
 28. Defendant: Mary Ellen Castro, DNP, APRN, IS A CITIZEN OF CONNECTICUT
                   Name of 27th Defendant
Whose address is: Uconn Health 263 Farmington Ave Farmington, er. 06030-5386
and who is employed as: Assistant Director of Cl inical Services for correctional -
                          Managed Health Care/Uconn Health
Email: <mecastro@uchc.edu>., (860) 679- 5547 Tel, (860) 679-5552 Fax.
                              (title and place of employment )
at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of State Law XX Yes. If Yes briefly explain: at the time she was under a contract in
between Uconn health and the Conn Dep ' t of Corr to provide medical care to the inmates
prison population the program was call correction managed heal th care-URC.
she is being suit in heu Individual and Official capacities as an empl oyee for DOC in the
State of Conn, and as an employee for the t0wn' s of Uncasv.ille, .·Farmington, & Wethersfield,
in t he State of Conn.
29. Defendant: Johnny Wu, I S A CITIZEN OF CONNECTICUT
                Name of 28th-                 (State)
                Defendant
~ose a~dress is: Uconn Health 263 Farmington Ave Farmington, er. 06030-5386
and who i s employed as: The Clinical Director for Medical Services for the Correctional -
                          Managed Health Care at Uconn Health
Email : <johnny@uchc.edu>
                              (title and place of empl oyment)
at the time the claims(s) alleged in this complaint arose, was this defendant acting under
col or of State Law? XX Yes . If Yes briefly explain : at the time he was the clinical director
for medical services he was the one wit h the last word to denied and/or approved any medical
care treatment an inmate need it in the whole DOC system e.g., Non-formulary medications
i .e., he will generate a list of the only allowed medication are care Doctor's or APRN can
used to prescribed it to inmates ' so if any inmate is in need of any other medication ' s
and the medication is not on that already approved list, then it is consider to be a Non-
formulary so that doctor/APRN will need to prepare a non-formulary form to then forward that
form to Mr. WU, so is defendant WU doesn ' t approved it then those inmates are to just be
out of luck left to suffer with-out the medical care they need in lot ' s of cases it had let
to the inmate ' s to died the main reason ' (s) as to why sometime in June of 2018 that contract
with Uconn Health-CMHC/URC was terminated due to several wrongful death lawsuit ' s against
OOC & CMHC/URC-Program.
he is being suit in his Individual and Official capacities as an empl oyee for DOC, as an
employee of Uconn-Health Care, and as an employee for the town's of Uncasville, Farmington,
Wethersfield, in the State of Conn.




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                         CONTINUANCE FROM SECTION: A.PARTIES"
30. Defendant: Aneta Dhillon RN, IS A CITIZEN OF CONNECTICUT
                  Name of 29th Defendant                      (State)
Whose address is: 986 Norwich-New London TPKE Uncasville, CT. 06382.
and who is employed as: A Correctional Register Nurse for DOC
                              (title and place of empl oyment)
at the time the claim(s) alleged in this complaint arose, was this defendant
acting under color of State law? XX Yes. If Yes briefly explain: She was as a first shift
nurse at #140-Corrigan Corr Center where she did co-conspired with with most of all of the
already mention defendant's to violated the plaintiff U.S. Const Right ' s in the denial of the
plaintiff Sneaker's, left leg lift, and insoles.
she is being suit in her Individual and Official capacities as an employee for DOC in the
State of Conn, and as an empl oyee for the town of Uncasville.
31. Defendant: Corr Counselor Ms. COU.INS , IS A CITIZEN OF CONNECTICill
               Name of 30th Defendant                         (State)
~ose address i s: 986 Norwich-New London TPKE Uncasvill e, CT. 06382.
and who is employed as: a rehabilitation process programs & Addiction Services Correctional-
                         Counselor for C.Orrigan CC
                          (title and place of employment)
at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of St ate law? XX Yes. If Yes briefly explain: She was the primary addiction services
and rehabilitation Correctional C.Ounselor for the whole Corrigan CC.
she is being suit in her Individual and Official capacities as an employee for DOC i n the
State of Conn, and as an empl oyee for the town of Uncasvill e.
32. Defendant: Kara-Phillips, RN, IS A CITIZEN OF-CONNECTICIJI'
               Name of 31st Defendant               (State)
~ose address is: 986 Norwich-New London TPKE Uncasville, CT. 06382.
and who is employed as : A C.Orrectional Register Nurse for DOC
                         (title and pl ace of employment)
at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of State law? XX Yes. If Yes briefly expl ain: she was the first shift nurse-supervisor
at Corrigan CC with the title of nurse correctional.
she is being suit in her Individual and Official capacities as an employee for DOC in the
State of Conn, and as an employee for the town of Uncasville.




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                         CONTINUANCE FROM SECTION: A.PARTIES"
38. Defendant: Timothy Halloran , IS A CITIZEN OF CONNECTICUT
                  Name of 32nd Defendant                      (State)
Whose address is: 986 Norwich-New London TPKE , Uncasville, CT. 06382.
and who is employed as: A lieutenant for DOC
                              (title and place of employme nt)
at the time the claim(s) alleged in this complain arose, was this defendant
acting under color of State law? XX Yes . If Yes briefly explain : at the time he was a DOC
Corr Officer with the rank of a lieutenant custody supervisor and his area of resposibilities
was being the unit manager for the unit the plaintiff was housed in at Corrigan CC, he failed
to protect the plaintiff and the plaintiff right' s by failing to provide for the plaintiff
)Jasic human needs, he failed to act within his statutory duties.
H~ i s being suit in his Individual and Official capacities as an employee for DOC in the
State of Conn, and as an employee for the town of Uncasville.
34. Defendant: Richard Fisher, DDS, IS A CITIZEN OF CONNECTICUT
               Name of 33r,d Defendant                 (State)
Whose address is: 900 Highland Ave Oieshire, Ct. 06410
and who is employed as: A Dentist Doctor by Uconn Health CMHC/URC for DOC
                         (title and place of employment)
at the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of State Law? XX Yes. If Yes briefly explain: at the time he did extracted my left
bottom tooth he was providing his services inside the DOC prison wall's under the contract that
used to exist in between Uconn Health CMHC/URC program and the DOC.
he is being suit in his Individual and Official capacities as an employee for DOC in the
State of Conn, and as an employee for the town of Uncasville, and Farmington.
35. Defendant: BARCELONA NUT <n1PANY IS A CITIZEN OF Baltimore
               Name of 34th Defendant                   (State)
Whose address is: Barcelona Nut Company Baltimore, MD. 21223
and who is employed as: A Su lier of Nuts for Keefe Distributor
                           title and pace of employment
at the time claim(s) alleged in this complaint arose, was this defendant acting under
color of State law? XX Yes. If Yes briefly expl ain : at the time the incident that let to the
l ost of my left bottom tooth the company was a private provider under contract with Keefe -
Company to sale inmates goad' s in this case it was Nut ' s .
this company is being suit in their Individual and Official capacities.




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                         CONTINUANCE FROM SECTION: "A. PARTIES"

S6. Defendant: Keefe Distributor Group Company, IS A CITIZEN OF Missouri
                Name of 35th Defendant                             (State)
Whose address is: Keefe Distributor Grou uxn          st. Louis Mo. 63132
                        title and place o employment
and who is employed as: The main provider for the whole. nationwide prison's Dep't of
                           Corrmissary in the U.S. they sale inmates basic human need's such
as Food items, Clothing items, Footwear items, Cosmetic's/Hygiene items, Electronic's items,
etc
                     (title and place of employment)
at the t i me the claim(s) alleged in this complain arose, was this defendant acting under
color of State Law? XX Yes. If Yes briefly explain: The company operate under contract with
the prison system •in america U.S. department of Corrections ' they supply goad's to the prison
commissary's that operate inside this prison wall ' s who then sale' s the Keefe items to the
inmate general population in the system.
37. Defendant: Mickey Gillette, IS A CITIZEN OF: CONNECTIClJI'
                Name of 36th-                       (State)
                Defendant
Whose address is: 986 Norwich-New London TPKE Uncasville, CT. 06382.
and who is employed as: A lieutenant for DOC
                          (title and place of employment)
at the time the cl aim(s) alleged in this complain arose, was this defendant acting under
color of State Law? XX Yes. If Yes briefly explain: at the time he was a DOC Corr Officer
with the rank of a lieutenant custody supervi sor and his area of responsibilities was being
the unit manager for the unit the plaintiff was being housed in, at corrigan CC, he failed to
protect the plaintiff, and the plaintiff right ' s by falling to provide for the plaintiff
basic human needs, or to aid by doing so he failed to act within his statutory duties.
he is being suit in his Individual and Official capacities as an employee for DOC in the
State of Conn, and as an employee for the town of Uncasville.
38. Defendant: Corr Officer Mr. BAUER, IS A CITIZEN OF OONNECTIClJf
              fuTe of 37th MEIIBlt                         (State)
Whose address is: 986 Norwich-New London TPKE Uncasville, er. 06382.
and who is employed as: A Correctional Officer
                           (title and place of employment)
at the time the claim(s) alleged in this complain arose, was this defendant acting under
color of State Law? XX Yes. If Yes briefly explain: He is a correctional officer at Corrigan CC
where he did deprived me of a basic human need protect by the 8th amendment to my U.S.
Constitutional right's.
he is being suit in his Individual and Official capacities as an employee for IX>C in the
State of Conn, and as an employee for the town of Uncasville.




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                         CONTINUANCE FROM SECTION: "A.PARTIES"
39. Defendant: Corr Officer Mr. Cl-lRONIN, IS A CITIZEN OF OONNECTICUI
                N3IB of :Eth Ma:tlnt                           (St.ate)
Whose address is:_~6 norwich-New London TPKE Uncasville, CT. 06382.
                     ~title and place of employment)
and who i s employed as: A Correctional Officer with the Rank of Ll.eutenant
                           ~title a:rl ploce of mp~t)
at the time the claim(s) alleged in this complain arose, was this defendant acting under
color of State law? XX Yes. If Yes briefly expl ain: The defendant is a C.orr Officer with the
rank of lieutenant wfio"did subjected the pl aintiff to be confined to unconstitutional living
condition ' s in violation of the plaintiff 8th amendment U. S. Constitutional Right by placing
the plaintiff for days inside a cell with no light and no operating plumbing by removing the
plaintiff from the assigned cell by the A&P which cell was operating find to placed the
plaintiff inside a none working cell.
he is being suit in his Individual and Official capacities as an employee for DOC in the
State of C.onn, and as an employee for the town of Uncasville.
40. Defendant: Fdward Maldonado IS A CITIZEN OF CONNE.CITCUf.
                N3IB of 39th Memant                   (Stat.e)
Whose address is: 944 Highland Ave Oteshire, er. 06410.
and who i s employed as:_A-:C.orr Officer acting as the District Administrator for the 2nd
                             District
                              (title and place of employment)
at the time the claim(s) alleged in this complain arose, was this defendant acting under
color of State law? XX Yes . If Yes briefly explain : He is the staff in charged to review
inmates appeal ' s such as Grievance' s appeal's for level 2/3, Disciplinary Report appeal' s,
Security Risk Group affiliation appeal ' s, he had the last word on any of the above process
to determining if the inmate' (s) did or did not received a proper due process.
he is being suit in his Individual and Official capacities as an employee for DOC in the St.ate
~ of C.onn, and as an employee for the town's of Cheshire, Uncasville, and Wethersfield.

41. Defendant: t-tmica J. Farinella Do. Dr , IS A CITIZEN OF CONNECTICUT
               l'a1e of «)th llifenJant                      (St.ate)
Whose address is: Uconn Health 263 Fannington Ave, Farmington, CT. 06030-5386.
and who is employed as: Director of Medical Services for C.orrectional Mana ed Health Care.
                               tit e and pace o emp oyment
at the time the claim(s) alleged in this complain arose, was this defendant acting under
color of State law? XX Yes . If Yes briefly expalin: She is the person in charged of approving
or denying the clinical care treatments for the entire inmates general population females,
and males, in the system for the whole State of Conn. she became in charged of such position
after defendant Johnny Wu left the job for whatever personal or political's reasons.
she is being suit in her Individual and Official capacities as an employee for DOC in the
State of C.onn, and as an employee for the towns' of Uncasville, Farmington, and Wethersfield.




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                            CONTINUANCE FROM SECTION:A.PARTIES"
42. Defendant: Richard P. Benoit D.M.D, IS A CITIZEN OF CONNECTICUT
                 Name ~f 141st Defendant                           (State)
Whose address is: Uconn Health 263 Farmington Ave, Farmington, er. 06030-5386
~d who is employed as: Uconn Health Director of Dental Services for the Correctional Managed
                        Health Care/URC
                        (title and place of employment)
at the time the claim(s) alleged in this complain arose, was this defendant acting under
color of State law? XX Yes. If Yes briefly explain: He is who detennined the denial and/or
approval of the inmates dental procedures care and quality care, for the Correctional Managed
Health Care, he supervised all dental Doctor's who provide dental care services to the inmate
general population prison system.
he is being suit in his Individual and Official capacities as an employee for DOC in the
State of Conn, and as an employee for the town's of Fannington, and the town of Uncasville.
43. Defendant: Donna Adams Conahan, IS A CITIZEN OF CONNECTICUI'
              N:rre of 42rrl Ma:rlmt                  (State)
Whose address is: 986 Norwich-New london TPKE Uncasville, er. 06382
and who 1 is employed as: A Correctional Refister Nurse
                         (title and place o employment)
at the time the claim(s) alleged in this complain arose, was this defendant acting under
color of State law? XX Yes. If Yes briefly explain: at the time she was acting under color of
state law her savior to denied treatment to the plaintiff as a register nurse, BSN at Corrigan-
CC she was the 2nd shift nurse supervisor.
she is being suit in her Individual and Official capacities as an employee for DOC in the
State of Conn, and as an employee for the town's of Uncasville.
44. Defendant: Jennine Brennan IS -A CITIZEN OF CONNF.CIT.CUT
              Mine of 43rd Ma:rlant              (State)
Whose address is: 986 Noooch-New London TPKE Uncasville, er. 06382
and who is employed as: A Correctional Register Nurse
                         (title and place of employment)
at the time the claim(s) alleged in this complain arose, was this defendant acting under
color of_State law? XX Yes. If Yes briefly explain: she is a register nurse who at the time
was_s~rving_as t~e ac~ive Medical Administrative Remedies Coordinator pursuant to their policy
Administrative Direct7ve 8.9, and who was also acting and/or impersonating to be a License-
mental health professional counselor after the real one who was Michelle Binezewski Palko left
then defendant Brennan took that impersonation to assist psychiatry-APRN CHRISTINA CAROLE -
WRIGHT, APRN.
she is being suit in her Individual and Official capacities as an employee for DOC in the
State of Conn, and as an employee for the town of Uncasville.




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                           CONTINUANCE FROM SECTION:A."PARTIES"
45. Defendant: Colleen Gallagher, MA,CADAC,CCHP IS A CITIZEN OF roNNECI'ICUT
                 t-are of 44th MElrlmt                                (State)
Whose address is: za Wolcott Hill Road, Wethersfield, er. 06109
and who is employed as: Correctional Health Services Program Director, Quality Improvement-
                              Health Services Program Director, in central Office for the entire
Conn De ' t of Corr. Email: Colleen. Galla her@ct. ov Tel: PEJ-6CJ2.-7M8 Fax: PEJ-6CJ2.-7fl-lo.
                                tit e and place of emp oyment
at the time the claim(s) alleged in this complain arose, was this defendant acting under
color of State law? XX Yes . If Yes briefl y explain: she work for the whole DOC as a director
for Health, ADA, and quality improvement services she is the supervisor for every singl e ADA-
Coordinator at every singl e jail, prison , Institution, Facility, and else for the Conn, DOC
she is to make sure al l of her subordinates are properl y assigned and/or train to deal with
Administrative Directive 8 .9 Administrative Remedy for Health Services, Admini strative-
Directive 10.19 Americans With Disabilities Act, so inmates like my self can get the proper
process, procedures, and relief ' s this two-(2) Directi ves are able to afford inmates with if
not somebody like the plaintiff get' s no relief.
She is being suit in her Individual and Official capacities as an employee for DO<:; in the
State of Conn, and as an empl oyee for the town's of Uncasville, and Wethersfield.
46. Defendant: Shannon Cather IS A CITIZEN OF CONNECTIClIT
        -·       t-are of 45th Marlant              (State) ,
Whose address is: 201 Wes t Main. Street. Niantic· er. 06357
and who is employed as: A Colll1ll.ssar       rator for Ke e and the DOC
                               tit e and pace o ernp oyment
at the time the claim(s) alleged in this complain arose, was this defendant act ing under
color of State law?· XX Yes. If Yes briefly explain: she is incharged of distributing the
co111Tiissary item's ordered by inmate' s at #140-Corrigan CC, her supervisor ' s are defendant' s
Ms. PLUS and Mr . STACK.
she is being suit in her Individual capacities as an employee for DOC in the
State of Conn, and as an employee for the town's of Uncasville, Niantic.
47. Defendant : Correctional Officer Mr. Cassidy IS A CITI ZEN OF OONNECTICUT
                 Name of 46th Defendant                              (State)
Whose address is: ·986 Norwich-New lDndon TPKE Uncasville, er. 06382
and who i s employed as: A Correctional Officeer.
                             (title and place of emplyment)
at the time the claim(s) alleged in this complain arose, was this defendant acti ng under
color of State law? XX Yes. If Yes briefly explain: he was a Corr Officer i n Corrigan CC
where the plaintiff was housed in where he deprived the pl aint iff of a basic human need
protect by the 8th amend U.S. Const.
he is being suit in his Individual and Official capacities as an employee for DOC in the
Stat e of Conn, and as an employee for the town of Uncasville.




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                            CONTINUANCE FROM SECTION:A . "PARTIES"
 48-. Defendant : Q)rrectional Officer Mr. Markovitz, I S A CITIZEN OF CONNECTICUT
                 Name of 47thh Defendant                                       (St a t e )
Whose addr ess i s : 986 Norwich-New london TPKE Uncasville , er. 06382
and who i s empl oyed as : A Q)rrectional Officer
                                ( t itle and place of employment )
 at the time the claim(s) all eged in this complin arose, was thi s defendant acting under
color of State law? XX Yes. If Yes bri efly explain: he was a correctional Offi cer at Corrigan-
 CC where the plaintiff was housed and subject t o cruel and unusual punishment.
he i s bei ng suit in his Individual and Offici al capacities as an employee for DOC in the
 State of Conn, and as an employee f or the t own of Uncasville .
49 . Defendant: Neil Parille                  , IS A CITIZEN OF CONNECTICUT
                 N:ne of 48th D:farlant                         (State)
Whose address is: 110 Sherman Street Hartford, CT. 06105- 2294
and who is employed as: Assis tant Attome General for the State Of U>nnecticut
                                    t i tle and place of emp oyment
at the t ime the claim(s) a l leged in this compl ain arose, was t his defendant acting under
color of State Law? XX Yes . If Yes bri efl y explain : He was the assist ant attorney general who
di d used his Power and Authority, plus influence t o manipulat e the court ' s system at State and
Federal Court' s level, he conspi red with the Uconn Health Correct ional Managed Heal th Care,
with Conn DOC, with Keefe-Corrrnissary to deprived the plai ntiff of pl aintiff constitutional
right ' s and care t r eat ment leadi ng t o pl aintiff permanent physical i njuries pain & suff ering
he is bei ng suit in his Indi vidual and Offici al capaci ties as an employee of the St a t e of
U>nn, and as an employee f or the t own' s of Uncasvill e , and Hartford.
 50. Def endant: ~hegan Reservation Tribes, IS A CITI ZEN OF TIIEIR OWN SOVEREIGN TERRITORY
                 Nanie,:o.fil149th Defendant                            SOVEREIGN- STATE
'tm.ose addr ess i s : 79 Elm Street Hartford, er. 06106-5127
and who is employed as : Self-Goverrnnent as ari independence State.
                                (title and -place of employment)
at t he time the claim(s) alleged in this complain ar ose, was this defendant acting under
color of State law? XX Yes. I f Yes bri efly explain: Mohegan Reservation in Uncasville is one
of the Six' s Indian~eservation' s i n the Stat e of Connect icut , The Mohegan Tribes all owed
for the State of Conn to run a County/Prison Cor rectional Facility inside their reservation
at Uncasville, Conn where the pl aintif f was sub1ected to numerous , number of cruelt y against
humanit y to his person and his U.S. Const Right s as a Citizen in this Nation of America .
 the t ribe of Mohegan i s being suit in their soverei gn capacities , Individual, and Of f icial.




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                                CONTINUANCE FROM SECTION:A . "PARTIES"
51. Defendant: Neil Kline, IS A CITIZEN OF CONNECTICUT
     -  -     Nile of j)tb. -             (State)
                  I:efen:Jant
Whose address is: 450 Columbus BLVD, Suite-2, Hartford, CT. 06103
and who is employed as: State of Conn investigator for the Corrmission of Human Rights and :..,, ... ,JL·
                          ¥rtunities
                            title and place of empfuyment)
at the time the claim(s) alleged in this compl ain arose, was this defendant acting under
color of State law? XX Yes . If Yes bri efly explain :
On 2/7/2018 him as 'an'"investigator for the CHRO in the case of
ANDRES SOSA V. STATE OF CT. DOC CHR.0#1640350, did dismissed the pl aintiff complaint's against
the named defendant ' s in that original complain based on his believe and conclusions that
there was NO REASONABLE CAUSE for beli eving that everythi ng the defendant' s did to the
plaintiff at: CORRIGAN CC was not a discriminatory practice committed by the defendant's
against the pl ainti ff as it was all eged i n the complain, he never did conduct any investiga-
tion as far of not speaking to any of the plaintiff witness or el se .
he is being suit in his Individual and Official capacities as an employee for the State of
Conn, and for the town's of Hartford, and Uncasville.
52. Defendant: Ronald Mc.Daniel Jr , IS A CITIZEN OF CONNECTICUT
                Nne of 51st Menhlt                      (State)
Whose address is: Town Hall, 310 Norwich-New London TPKE, Uncasville, CT. 06382
and who is employed as: Mayor for the City of Uncasville Conn.
                            (title and place of employment)
at the time the claim(s) alleged in this complain arose, was this defendant acting under
col or of State law? XX Yes . If Yes briefly explain: he is the mayor for the town of
Uncasvill e Conn the town where Corrigan CC           .         is l ocated he got the juri sdiction
over those Cor rectional Officer ' s as State employee ' s under the same jurisdiction of his
town where the plaintiff was subjected to numer ous number's of cruelty against humanity to
his person i n violation of his U.S. Constitut ional Right's, Declaration of Independence,
The Universal Declaration of Human Rights On December 10, 1948 Article'(s): (3),(5),(6),(7),-
(12) • .and in violation of: ''MAGNA CARTA" from John in 1215 Article-( 40). aqd the
Constitution of the State of Conn.
he is being suit in his Individual and Official capacities as an employee for the Sit.ate of
Conn, and as an employee for the town of Uncasville.
53 . Defendant: Corr Officer Ms. Shannon Bower, IS A CITIZEN OF CONNECTia.IT
                Name of 52nd Defendant,.                             (State)
Whose address is: 986 Norwich-New London TPKE Uncasville, CT. 06382
and who is employed as: A Correctional Officer
                         (title and place of employment)
at the time the claim(s) al leged in this compl ain arose , was this defendant acting under
color of State law? XX Yes. If Yes bri efly expalin : she work as a Corr Of f icer at Corrigan CC
and On 10/21/16 she did placed the plaintiff in segreagtion and pack his personal property.
she is being suit in her Individual and Official capacities as an employee for DOC in the
St ate of Conn, and as an employee for the town of Uncasville.



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                          CONTINUANCE FROM SECTION:A . "PARTIES"
54. Defendant: Corr Officer Mr. John Doe ,rs A CITI ZEN OF CONNECTICUT
                 Name of 53rd Defendant                           (St ate)
Whose address i s : 986 Norwich-New London TPKE Uncasvil le, er. 06382
and who i s employed as : A Correctional Officer
                             (title and pl ace of employment)
at the time claim(s) alleged i n this compl ain ar ose , was this def endant acting under col or
of St ate Law? XX Yes. If Yes br iefly explain: he work as a Corr Officer at Corr igan CC, he
admitted that on October 21 , 2016 he was present as the rover helping in packing defendant
Ms . Bower packed the plainti ff personal property.
he i s being suit in his Official capacity as an employee for DOC in the State of Conn, and
as an employee for the town of Uncasville .
55). Defendant: Corr Officer Mr. M:>rin, I S A CITIZEN OF <XlNNECTICUf
                  <_N:ne of .¾th Ma:rla:it                    (State)
Whose address is: 986 Norwich-New London TPKE Uncasville, CT. 06382
and who i s employed as : A Correctional Officer
                             (title and place of empl oyment)
at the t i me claim(s) alleged in thi s complain arose, was this defendant act ing under col or
of St ate Law? XX Yes. I f Yes briefly expl ai n: he work as a Corr Officer at Corrigan CC,
he i s being suit in his Official capacity as an employee for DOC in the State of Conn, and
as an employee for the town of Uncasville.
56. Def endant: Christina Carole Wright, Psy::-.APRN ,IS A CITIZEN OF CONNECTICUf
                 Name of 55th Defendant                                  (State)
Whose address i s : 986 Norwich-New London TPKE Uncasville, er. 06382
and who i s employed as : A Correctional Psychiatry APRN
                             (title and place of employment)
at the time claim(s) al leged i n this complain arose, was t his def endant ac ting under color
of State law? XX Yes . If Yes briefly explai n: She work as a Cor recti onal Psychiatry- APRN at
Cor r i gan CC, she On Oct ober 26, 2016 did stop my psychiatry mental health care t reatment and
just di scontinued my Well butrin 450mg and Zolof 150mg cold turkey for unknown reason' s to the
pl ainti ff , she is an APRN and not a Psychia try Doctor to do such thing she i sn' t license to
stop & discont inued my treatment and/or make any diagnosed but it seen that she just did it on
her own will.
she is being suit in her Individual and Offici al capacities as an empl oyee for DOC in the
State of Conn, as an employee of Uconn Health at the time and as an employee f or the town's
of Uncasville and Farmi ngton .




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                         CONTINUANCE FROM SECTION:A."PARTIES"
~7. Defendant: Craig Burns, Psychiatric Doctor, IS A CITIZEN OF CONNECTICUT
              Name of 56th Defendant                            (State)
Whose address is: 24 Wolcott Hill Road, Wethersfield, er. 06109
and who is employed as: Chief of Ps chiatric Services for the De tment of Correction in er
                         title and place of emp oyment
at the time claim(s) alleged in this complain arose, was this defendant acting under color
of State Law? XX Yes. If Yes briefly explain: He is the chief of Psychiatric Services for the
Department of Correction his duties and responsibilities is to oversee the care provided to
the inmates general population by the Uconn Health care center-Correctional Managed Health -
Case/URC. be is also the primary supervisor for all & every Psychiatric and Psychologist
~~o work within the Department of Correction Wall's in the State of Conn Prison System.
he is being suit in his Individual and Official capacities as an employee for OOC in the
State of Conn, as an employee for the town's of Wethersfield, and Uncasville.
58. Defendant: Robert Berger, Psychiatric Doctor, IS A CITIZEN OF CONNEerICUI'
              Name of 57t Defendant                               (State)
Whose address is: Uconn Health Center 263 Feton Ave, Farmington, CT. 06030-5386
and who is employed as: The Director of Ps c ·atric Se ·ces for Uconn -Q1HC
at the time claim(s) alleg~ In~if ~g~p£ai~rg~~nwas this defendant acting under color
of State Law?~Yes. If Yes briefly explain: He was the direct supervisor for Defendant
Christina Carole Wright since he was the director of psychiatric services for Uconn Health -
Center for the Correctional Managed Health Care program/URC.
he is being suit in his Individual ang.,0fficial capacities as an employee for OOC in the
State of Conn, as an employee of Uconn Health Center, and as an employee for the town's
of Farmington and Uncasville.
59. Defendant: Andrea C. Reischerl, PMHOiS-BC Psychiatric APRN, IS A CITIZEN OF CONNECTICUT
              Name of 58th Defendant                                            (State)
Whose address is: 24 Wolcott Hill Road, Wethersfield, CT. 06109
and who is employed as: The assistant for defendant Dr, Mr. Burns in the DOC Central Office
                         (title and place of employment)           ·
at the time claim(s) alleged in this complain arose, was this defendant acting under color
of State Law? XX Yes. If Yes briefly explain: she is the assistant of the chief of Psychiatric
Service office for the DOC in Conn Part of her duties is responding to offender's letters,
oversee the care provide by the Uconn Health Correctional Managed Health Care/URC to ensure
persons incarcerated receive appropriate care from the contracted health care vendor, the
Correctional Managed Health Care-(CMHC).
she is being suit in her Individual and Official capacities as an employee for the DOC in the
State of Conn, and as an employee for the town's of Wethersfield, and Uncasville.




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                At the time the claim(s) alleged in this complaint arose, was this defendant acting under
             color of state law?~Yes _ _ No. If your answer is "Yes," briefly explain:
             On June 16 2016 around 3:30 P.M I was scort to the Corri an CC A&P are th                    iped by
             co Evan & c/o Bradgon who did took away the black Nike Hyperfusions with medical lift & the
             insoles , he brought it to the back where property is, leaving me bear-foot the admision c/o
             sweet came to the bullpen and ask me about the sneakers I told him I was allowed to order my
             sneaker from an outside vendor & I used eastbay he question the price I said less then $100. oo
             3. Defendant c/o DAVID E.'VAN                     is a citizen of Connecticut
                         (name of second defendant)                                                              (State)
                               Corrigan Corr Center
             whose address is 986 Norwich-New l ond.on TPKE Uncasville, er. 0 6382.

             and who is employed as Another of Cbnnecticnt 0>ro1pt COrrec:t:ianal Officer~
                                     (title and place of employment)

            At the time the claim(s) alleged in this complaint arose, was this defendant acting under
         color of state law? ~Yes _ _ No. If your answer is "Yes," briefly explain:
  <kl. June 16, 2016 on/ or at: 3:30 P.M me & my cellmate was scort to the facility A&P area by L'T
  Brain Stadalnik & two-(2) c/o's I was placed in a holding cell & c/o Evan start to strip searching
  me I did as I was told & he just took my sneakears size 12-c Nike Hyperfusions with medical lift-
  for my left leg & insoles leaving me there barefoot for hours I never got nothing back & had to
                               .                   .                 .         .          ..     ~ ) ) ) ) )))) ) )))) )) )) )))
             (If more space Is needed to furnish the above information for add1t1onal de endants, continue
             on a blank sheet which you should label "A. PARTIES." Be sure to include each defendant's
             complete address and title.)


                                                         B. JURISDICTION

             1. Jurisdiction is asserted pursuant to (CHECK ONE)

                   XXXXXXXXX42 U.S.C. § 1983 (applies to state defendants)

                             Bivens v. Six Unknown Named Agents of Fed. Bureau of
                             Narcotics, 403 U.S. 388 (1971) and 28 U.S.C. § 1331 (applies to
                             federal defendants)

             2. Jurisdiction also is invoked pursuant to 28 U.S.C. § 1343(a)(3). (If you wish to assert
2 '.Q V • stj,u~~iy~       ~;~TJ;,S-~r[~Q]ff)jae~1J~tute~,(,~~,~~1~1'.z1~ht.Z.~~~c.. '; \3bl, ) \ ~q \ l~....~'2-)~_
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                                                                                of 133 \                    or \ .,/
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 c.'?> \_). s. C. • ~ 2."LO\ ., ~~ IBL~J3 q 3.,i \?:,3Q, 13Sl . \ g_u~;...C -~_) \~lo\-63-(Rl C.o tt.C..~)-
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                                                        --- -              --~----
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                                         C. NATURE OF THE CASE

      BRIEFLY state the background of your case.
Is in regard of violation of my 8th & 14th to my U.S. Const Right against cruel & unusual punish-
ment, deliberate indifference, inadequate medical & denial, denial of reasonable medical accomoda-
tion, treatment, violation of my right to proper medical care at least to satisfy the community-
standard, deliberate indifference to my serious medical needs, failure to provide the proper medi-
cal care devices ' in a proper & timely manner, deprivation of already prescribed medical treatment7
devices e.g. , leg lift, soles, sneakers, resulting in permanent pinch nerves damages for life,
interfering with medical treatment & equiment by prison guards/custody, medical malpractice, &;
Negligence. deprivation of personal property in an unauthorize illegal manner, violation of my 1st-
ament to my U.S. Const Rights by retaliating, which acted was done wanton, reckless with a -
Malicious mental State done with the improper self serving purpose to inflicted pain by acting in
outside the scope of their employment-duties & granted Statutory Authority since there is no esta-
blished law, statutes authorizing the defendants to do what they did to me & my health cause me
an emotional stress disorder to the point I was inchs from conducting bodyliy harm on my violators
and my former cellmate let the defendants know what I was up to at the ,time the harms to me was-
done by them KKK NAZIS in corrigan! ! ! D. CAUSE OF ACTION

      I allege that the following of my constitutional rights, privileges, or immunities have been
      violated and that the following facts form the basis of my allegations: (If more space is needed
      to explain any allegation or to list additional supporting facts, continue on a blank sheet which
      you should label "D. CAUSE OF ACTION.")
                 Violation of my 1st, 8th, & 14th Amendment' s to my United States Constitution,
      Claim I: Deliberate Indifference, to my serious medical needs , reckless, wanton, willful,
                 violations of plaintiff rights only for the very purpose to created intentional
                 infliction of emotional distress since the defendanc/o Mr. Sweet knew or should
     have know his conduct will result in the plaintiff tremendous emotional distress and;
     physical pain and suffering. and ot~ ' s' c.L n!Mi...1 ::,:W(u C.\,.p..;~-LVZI~'{e ~eJ(d(fn'(~~
      rerete.\Jc.e.               '(e~
                     c,.._s , ~ fv\li    .st~tcz. ~e'(e tJ. i
      Supporting Facts: (Include all facts you consider important, including names of persons
      involved, places, and dates. Describe exactly how each defendant is involved. State the facts
     clearly in your own words without citing legal authority or argument.)on June 16, 2016 2nd shift while
     housed in #140-Corrigan Corr Center in Unclesville Conn, defendant C/0 amIS'IDPHER SWEET was
     the admission officer at the jail front desk & while another c/o David Evan, was stripping
     me with c/o Bradgon sweet took it upon him self to confiscated my size 12-c Nike Hyperfusion
     sneakers with the lift for my left leg and insoles for the very purpose of causing harms &
     mental anguish in which he was very secessful since I got permanent injury for life he did
     acted in execess of his statutory authority since he was not the property c/o or the A&P,
     strip-search c/o at the time he did confiscated my shoes & medical equi~ment he came up to
     me saying I can' t have them sneakers cause it cost over $100.oo u.s dollars once I proved
     him I paid less he then address their safety & security trick that the sneakers have hiding
     compartment/pockets-(if there were secret pockets how he find them so easy) , I told him that
     the property c/o Raun Kudzal inspect them when I got there in November 16th, 2015 from #136-
     Garner C.I, on 2nd shift kudzal was right there when c/o sweet was telling me that also the
     A&P manager & custody supervisor lieutenant Brian Stadalnik was present on 11/16/15 when I
     was allowed to kept those sneakers & they took the White/grey/chrome Nike team Jordan sneak-
     ers, he didn ' t care and minutes later did bring me an Inmate Property Status and Receipt,-
     Form CN 61002 in the present of L'T Stadalnik & c/o Kudzal that my shoes where unauthorized
     & I need to mail them home I refused to sign the form and as a result I was issued a class-
     B Disciplinary report signed by one of his accomplice L't Stadalnik in which they falsify
     & alter documents e.i. , date & times. Report No. CRCC1606061. the defendant c/o Christopher-
     SWeet is being suit in his Irxlividual & Official Capacities. c:..0-5e,--j \J ·-\...e'-1-J ~5, '-.'b4. ~.. -
                                                    ( 1) SIJ f P. \Lf17. \5"-tS ( t.,. t\X- ~ q_ ·\~'l~).    --
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                                                                                   ·p~. "2.. 0~ \02.

         Claim II: Violation of my 1st , 8th , and 14th amendment to my U.S.
                  Constitutional Right, Del iberate Indifference to my serious medical-
         need ' s, for the very purpose of causing harm to thie plaintiff in a willful,
         wanton and reckless way and more Claims~I & Claim-II are incorporated by
         reference as if full y re-stated herein.

         Supporting Facts: C/O Evans on 6/1 6/ 16 2nd shift was working at #140-Corrigan cc
         i~ the A&P area.as usual as the strip-search officer and who took my black
         Nike sneakers with left leg lift & soles away from me and handed it over to
         his o~hers co-conspiratos defendants mentio~ in this §1983 claim.
       ~CA.'z,@;j \] \~\N~
                       #        S, t ~'-\ ~- Sv?F.. \ l\'l l , \ 5 L\S lt>•\'~ '0· l~i:\·~ '>c~~,(;,'IU1 ~   \\J'.d . , ~
: "J      ~~~J ½ SQA:A~ ~                     (' ~ . , G ~ N ~ ~ £\1\.&-t..-
                                 7
~\JV~ ' E',~c, C.\< "'1 ·· \N E 1 4__ , 1:.I,5 't· ~;. \'5 iS1 \\o "., (.:i ~ C I'. Loo3),
 5-b l\•t \J . l:J~t-J-..b\e, l-\2..C\ 0 .s. '"1··1. \l.)5, ~7 ~- c..1ci .2'85' C,l\.'l'-'1)
However the 8th amendment prohibits the "unnecessary and wanton infliction of pain, Id at 104.




                           Violation of my 1st, 8th, & 14th amend to my U. S. Const Right ' s,
         Claim Ill:
                  Deliberate Indifference to my serious medical need ' s for the very pw:pose
 of causing harm to the plaintiff in a willful, wanton & reckless way whil e intrust to his
 care as a DOC custody supervisor-.-
      Claim-I thru claim-III are incorporated by reference as if fully re-stated herein.

         Supporting Facts: Defendant B.Stadalnik on 11 /16/15 & On 6/16/16 was at all times the Unit-
                       Manager at #140-Corrigan CC for the jail A&P area also is a custody superv-
 isor with the lieutenant rank he was put on that post by the Facility Incoming Property Review
 Coordinator D/W ROBERT MARTIN, he had the power & authority to tell his subordinates what to do
 and not to do, also to tell them what property to take from me and not to take from me but
 instead allowed his subordinate to continued the violation to my U.S. Const Rights , as to be
 free from cruel & unusual punishment, he saw me On 11/16/15 with a broken right hand & instead
 of asking the CI'U c/o who drop me off E.PEREZ what happen to me before I got there, and instead
 of getting me medical attention when he had two-(2) nurses right in front of him he decide to
 co-conspired with his subordinates and allowed the wrong doing to me to continued for years til
 this day since 11-16-15 they are still holding all of my personal property and do not want t o
 forward it to me at the facility I was transfer to. as a supervisor he failed to train and to
 supervise, he failed to inforce plaintiff rights against his subordinates instead he did partic-
 ipated and was personally involved, he have the ability to end the constitutional violation his
 subordinates put the plaintiff through leaving plaintiff with permanent bodyly harm injury for
 the rest of his life having to take medical daily treatment and pain medication for the rest of
 plaintiff life, the defendant failed to take actions to prevent predictabl e violations of
 rights within his areas of responsabilities. ( 2)
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Claim IV: violation of my 14th, 8th, & 1st Amend to my U.S. Const Right ' s, Deliberate Indifferen-
ce to my serious medical needs, reckless, wanton, willful, only for the purpose to created-
intentional infliction of emotional distress, pain & suffering, cruel & unusual punishment that
have result in plaintiff obtain physical and permanent injuries . claim-I thru claim-IV are
incorporated by reference as if fully re-stated herein.
Supporting Facts: Defendant Raun Kudzal was the 2nd shift property officer at #140-corrigan CC,
On 11-/16-15 & On 6-16-16 when the plaintiff got transfer there from corrigan CC kudzal was the
officer who inventory the plaintiff property confiscated the Jordan & with the lift & insoles
that were inside he only let the plaintiff with the pair of sneakers he was wearing the Black-
Nike Hyperfusion that on 6-16-16 in his presented his co- worker c/o Mr. sweet did issued the pla-
intiff & disciplinary report for contraband class-Bin which the plaintiff was found guilty and
punished with additional sanctions for it & kudzal as the property c/o in charged failed to
prevent the predictable violation against plaintiff within his area of responsabilities, in top
of that kudzal did at least three times for the period the plaintiff was there cell ' s matrix-
property check in which you have to bring everything out of your cell and placed it inside five
boxes and whetever doesn't fit or you leave in your cell will be throw away in the garbage so he
witness the plaintiff having for over a eight-months period those same sneakers, the plaintiff
did also provided evidence of old property inventory sheet signed by L't J. Iozzia when iozzia, -
was the property c/o at the time there that shows the plaintiff had the same pair of white jordan
sneakers in that same jail, that was futile til this date both pair of sneakers are being held
at corrigan.
when he did allowed other inmates to wear jordan sneaker in the same unit the plaintiff was
housed in that jail, the plaintiff also did provide evidence from central office of LOC in regard
to the fact that there was no policy in placed that allowed the defendants to take away my shoes
only cause the ibrand is Jordan I FOI such police from the former Director of security division
for the Dep't in which the FOI administrator and attorney confirmed the defendants were on the
wrong, but still the defendant ' s did used individual discrimination toward the plaintiff and did
not retwm back nothing, my sneakers did not post any safety or security to the institution nor
did the defendants provide evidence the former Dir of security stated sneakers can be taking on
a one on one basis if any inmate do something but not take other's inmates shoes cause of what
another inmate did.
Under the Tmner, standard, when prison restrictions are challenge officials must justify their
policies and provide factual support for their arguments. the defendants did created their own
unconstitutional custom police as to claim a policy that do not existed nor was being use with
others prisoner' s , but only with me the plaintiff., his thing was to target "LATINOS/ HISPANOS"
kudzal did conducted peri odically inmates matrix inspection as I said, another time he confiscat-
ed the plaintiff beardtrimmer. also c/o Kudzal saw me with a swollen broken hand and also did not
bother in getting me medical care.
Claim V: violation of my 14th, 8th, & 1st Amend to my U.S . Const Right ' s , Deliberate Indifferen-
ce to my serious medical needs, reckless, wanton, willful, and malicious while having a clear
state of mind only for the very purpose to caused harmed & permanent physical injuries to this
plaintiff spine the type of injuries that required daily pain medication treatment since he will
be in pain on a daily basis for the rest of his life. Claim--I thru Clai.m-IV are inoorporated by-
                    reference as if fully re-stated herein.
Supporting Facts: Defendant Robert Martin, at the time the plaintiff was at corrigan he was the
Deputy Warden of Operation & at the time was the facility incoming property coordinator
designated as such per defedant Antonio Santiago in accordance wi th A.D. 6. 10 inmate property,
he was responsible for the authorization of denying of all incoming propertyitems. [si]
On 11/19/15 I send Martin a request-(CN9601), in regard of his subordinates ' e . g., R.KUDZAL and
others as to the abused they was doing to me discrimination, deprivation of already authorized
property, about the unconstitutional discriminatory custom policy in a maliciously & sadistically
manner, which policy couldn' t had been employ by his subordinates unless he was who: ordered, &
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authorized them to do so Defendant Martin did exhibited deliberate indifference as respondent
superior to my rights by failing to act on information indicating unconstitutional act ' s toward
me by his subordinates were occurring. Colon V. Coughlin, 58 F . 3d 865 (2d Cir. 1995), instead he
forward my request to his subordinate, Defendant B.Stadalnik, one of the main individuals I was
complaining to defendant Martin.
Defendant Martin as well as the rest of his subordinates at property did allowed others inmates
whites, & blacks to wear Jordans and order the same and/or other brands of sneakers from an
outside vendor due to settlement agreement, (the same as me) , or sneakers pass issued by medical
but refused to honor this plaintiff part of his settlement agreement so I at least would had be
able to order me some new pair of sneakers from an outside vendor of my size 12-C.
instead him and his subordinates, e.g. , property, commissary, medical, and even his own
supervisor the warden kept saying COlllllissary can order my size 12-c by placing a special order
that never got there leaving the plaintiff with no shoes to wear for around a year, with no lift
no insoles inas a result the plaintiff did and are still suffered til this date emotional stress-
disorder, pain and suffering mental anguish, hated, and more mental disturbance feeling like a
raped-victim.
defendant Martin and subordinates acted in a retaliatory manner, also used individious discrimat-
ion: (discrimination that is offensive or objectionable esp. because it involves prejudices or
stereotyping--Black's Law Dictionary (3rd Pocket F.d. 2006). [sic]
Defendant martin failed to take action to prevet violations of rights within his area of
responsibility. Meliiwether V. Coughlin, 879 F. 2d 1037, 1048 ( 2d Cir. 1989 )(warden am. carmissione.r-
could be held liable for foreseeable :retaliatory beating by officers). Martin knew or should have
known the task of my property issues was not getting done by his subordinate. Lamarca V. Tu:r:ner,-
995 F. 2d at 1537-38 (superintendent could be held liable in part because he failed to ensure that
his direct subordinates carried out his policies), and I the plaintiff did placed martin on notice
of need for action.
Martin had the power to correct the violation and duty to act and choose not to as the deputy-
warden of Operation for the whole prison. Officials who set pol icy, write regulations , or give
orders may be liable, even if he are not directly involved in enforcing them against you. see;-
Martin V. Sargent, 780 F.2d 1334, 1338 (8th Cir. 1985)(" A prison warden can be held liable for-
policy decision's which create unconstitutional conditions); Duchesne V. SUgannan, 566 F.2d 817-
830~32 (2d Cir. 1977) in fact when prison employees act pursuant to orders, policy or regulations,
the order-giver or policy maker may be the only person who can be held liable. A policy need not
be formal or written to serve as the basis for liability Leach v. Shelby County Sheriff, 891 F.2d-
1241, 1246 (6th Cir. 1989)(evidence that the sheriff "implicitly authorized, approved or-
knowingly aoquiesced11 in his subordinates' actions could support his liability), cert. denied,-
495 U.S. 932 (1990). "Tacit authorization" may be sufficient Fruit V. Norris, 905 F.2d 1147, 1151 -
 (8th Cir. 1990).
former deputy warden Martin,R. did in fact violated by all mean my 14th, 8th, and 1st Amend to
the U.S. Const. he a l so was aware I came to his facility with a recently broken right hand that
need it emergency medical care also he did not care it took weeks for me to go it #137-Macdougall-
C. I another prison in suffield Conn to see an specialist who only took x-rays ans did nothing my
broken hand reach to the point that bones did not want to heal they had to start to give me
calcium pills, I even put Martin on notice that his subordinates on 6-16-16 throw away some legal
documents, box's, legal files & folders all he said was that was not legal to have my legal stuffs
Claim VI: Violation of my 14th, 8th, & 1st, Amendments to my U.S. COnst Right ' s , as to be free-
from cruel & unusual punishment, Deliberate Indifference to my serious medical needs, reckless , -
wanton, willful, and malicious clear state of mind for the very purpose of causing harms ' and
permanent physical injuries to this plaintiff, which injuries required daily painful! medical -
medication treatment since those injuries pinch nerves on plaintiff spine will never go awab for
the rest of plaintiff life in this miserable world. claim--I thrii clai.m=VI a:re inoorporated iy ref-
erence as if fully re-stated herein.
                     •... : ...'...::._~V        t .. ·• -,L ..                                                                                                     .. ' ~-' . , . . ......
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                                                              11
                       CXNl'INUANCE FR01 PAGE--3 SECJ.'ION:    0 . CAUSE OF ACTIOO''""

Supporting Facts: Defendant Antonio Santiago1at the time was the warden of #140-Corrigan cc, and
did subjected the plaintiff to individious discrimination intentionally for the very purpose of
causing harm the plaintiff did and are still suffering emotional stress disorder since he did
sustain permanent life injuries that required daily medical pain medication treatment do to the
damage cause 1 by the cruel and unusual punishment the plaintiff did experience in the custody of
this defendant and his subordinates to the point this plaintiff thought I was going to died,next
at their hand that mentally I saw no more other exit then to used violance, against my abusers,
as a result couples weapons were recovered after who was my cell mate at the time Roland E.vel.1-
D.O.B 4- 14-1993, lead the defendants to it I was then secure in the prison Restrictive housing
Unit,     arrested and chargeJby the state police in which I received a one-(1) year sentence as
part of a plead deal.
I let this defendant know in regard of his subordinates intentional unauthorized deprivations of
my personal property , and what I need is the return of my property since it constitute irreparab-
le harm, On December 22, 2015 this individual told me that my SONY B(X)MBOX was returned to me
my Ray Ban gl asses never follow me from garner C.I. when I got transfer, and that my sneakers,
were going to be held until a decision is made, I let him know manny other inmates got jorda~ ' s
I ask him to allowed me to order a pair of sneakers size 12-c in accordance with my settlement
he declined that I have to purchase my sneakers from the commissary who sale my size, he also make
clear to me that if the attorney general office leave it up to him I won ' t get nothing at all, and
that he don ' t care if I go back on a hunger strike cause that was my right and I can starve to
death.
I showed this individual that the sneakears and property items his subordinates took away from
me I had it when I was there from 2009 to 2011 and he was the deputy warden of operation, and I
was allowed to even ordered a pair of sneakers, all my intent was futile , he know I had a broken
hand my right hand that I need it expedite medical care the only thing he told the plaintiff while
looking at my swollen right hand that he was not going to authorized a transportation to no
hospitals straight from his prison!. SNST,0..'30 -
        authorized for other ' s inmates simil arly situated to this plaintiff to wear Jordans, this
defendant did in fact violated my constitutional rights by failing to take action to prevent
predictable violations of rights in his prison within his areas of responsabilities as the warden
and the duty to protect the plaintiff in his care. Johnson V. Johnson, 385 F.3d 503, 526 (5th Cir-
2004); Valdes V. Crosby, 450 F.3d 1232, 1239-43 (11th Cir. 2006)(wa:rden muld be held liable for
beating of prisoner based on inaction and weakening of protective measures in the face of infonnat-
ion suggesting widespread abused); Sash V. U.S., 674 T.Supp.2d 531 544 (S.D.N.Y. 2009).

Santiago was personally involved in the deprivation of my personal property, medical devices, and
U. S. Const Right deprivation, since he created a policy or custom under which unconstitutional
practices occured and allowed such policy or custom to continued. Colon V. Cbughlin, 58 F.3d 865,-
873 (2d Cir. 1995).
Santiago as the warden at the time intentionally did discriminated me, he had the ultimate
authority he was the order-giver, policy maker, set policies within his prison walls, write regu-
lations as well within the same prison walls , all in which make him liable as a superior even if
he was not directly involved in enforcing them against me. Brock V. Wright, 315 F. 3d 158, 165-66 -
(2d Cir. 2003), and did so in a manner that itself violated the Constitution. Ashcroft V. Igbal,-
_ _ _ _U.S. _ _ _ _ , 129 s. ct. 1937 (2009). defendant Santiago also failed to act on report -
and appeals this plaintiff filed in regard of all of the above. Wright V. snith, 21 F.3d 496, 502-
(2d Cir. 1994) (quoting Williams V.,smith, 781 F.2d 319, 323-24 (2d Cir. 1986)).
The defendant Santiago as the Unit Aministrator of his prison failed to take corrective action
after learning of a subordinates ' unlawful conduct, did instead supported the creation of a policy
or custom fostering the unlawful conduct, he acted with gross negligence in supervising his subor-
dinates who commited unlawful acts, or deliberate indifference to the rights of others by failing
to act on information regarding the unlawful conduct of subordinates. Hayut V. state Univ. of -
                   Case 3:20-cv-00382-SVN Document 10 Filed 09/15/20 Page 33 of 133


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NeW York,  352 F.3d 733, 753 ( 2d Cir. 2003 )- (c i ting M:>nell V. Dep't of Soc. Servs. of New York, -
436 U. S. 658, 691, 98 S . ct. 2018, 56 L. El:1. 2d 611 (1978).

Defendant Santiago keep on saying that the plaintiff sneakers size were avail able and sold by the
prison commissary without any evidence,tol\.-e.w admited the size not to be avai labl e , the defertdant
was operating a prison facility without an adequate medical care system with " [Sy]stemic deficien-
cies i n procedures which did subjected the plaintif f to unnecessary suffering this is a inevitable
deliberate indifference action toward this plaintiff. Todaro V. Ward, 565 F. 2d 48, 52 (2d Cir. -
1977), qooting Bishop V. Stoneman, 508 F. 2d 1224, 1226 (2d Cir. 1974); accord, Harris V. 'Ihigpen, -
941 F. 2d 1495, 1505 (11th Cir. 1991 ). 1 "'8 OCt e.~~\J·l. 'C)e,W~~ I"'~ O..C..CK,SS ~ D (<.eY\o....b'~ U~b\' C fJ -
 P 'to~\/"l\.~~ -e\10 ,-S -~ t...J~ ~ - N•d 1.-,y,~ ..J!>..µ LB ' \A.l"-S ChN\.(>to~ .5~ >-&r NO'. \4,o- n - o, O ~~-
Plaintiff injuries sign1ficanE1y atrecEs his daily activities. fiboouth County Institution Inrnates-
v. Lanzan>, 834 F.2d at 347 (medical need is s erious i f i t imposes a "life-long handicap or -
permanent loss") .

Cl.aim VII: Vi olation of my 8th, 14th, & 1st Ament to my U. S. Const Rights ' as to be free from
cruel & Unusual Punishment, Deliberate I ndifference to my serious medical needs, reckless, wanton,
wi ll and malicious infl iction of pain for the ver y purpose to only cause permanent harm & physi cal
injuries to this plaintiff, which injuries do required daily medical treatment t o incl uded the
administration of daily medication to treat the pain & suffering of my pinch nerves in my spine.
Claim--! thrn Claim--VII are incorporated by reference as i f fully re-stated herein.
Supporting Facts: Defendant Ronald Labant~, at the time was the Health Services Administrator at
#140-Corrigan CC for the town of 0ncasvil le Conn, from 11/16/16 HI\ the plai ntiff got transfer out
of that prison, Labante did failed to act within his area of r esponsibilities I wrote to him
plenty of times, he knew or should have known the medical problems I have to included plantar
facittis, instead he only did send me a flyer of the sneakers sol d by the commi ssary which did .not
include .the plai nti ff size 12- c in question.

I.abante did acted with deliberate indifferent toward my serious medical needs, as to be free from
cruel and unusual punishment but as a medical pr ofessional he did nothing but help in inflicting
and prolonging unnecessary and wanton pain & suffering prohibit by the 8th amend. Estelle V. -
Gamble, 429 u.s . 97, 104 (1976). neither did try to attempt to accommodate my needs. see;
Faraday V. Ccmnissioner of CoI:r, 288 Conn. 326. Archer V. Dutch.er, 733 F. 2d 14, 16-17 (2d Cir. -
1984), Bass by Lewis V. Wallenstein, 769 F. 2d at 1184-86 (damages awared against assistant warden-
and medical administrator based on deficiencies in s ick call procedure) .
On 7/7/16 I wrote to Iabante to let him know that one of his subordinates Nurse KARA PHILLIPS,   in
a retaliat ory manner stop the medically institutional laundry process that was getting done due
to my skin contact dennat itis probl ems he only direct me to speak with a custody unit manager.
I been diagnosed.vwith: Sacral ization of the LS bilat:erally, wi th evidence of bilateral pseudarthro-
sis . with mild scoliosis of the lumbar spine, concave to the right and centered at L3 level, I got
mild disk space narrowing L5- S1. The visual ized l ower lumbar spine and sacrum suggest s a -
transitional l umbar spine vertebra distally. wire sutures are noted in the midline just anterior
to the lower sacrwn. There is a slight curve of the dorsal spine convex to the right.
 There is an½ inch di screpancy of my left leg whi ch chronic pain arise due to the pl aintiff
pl anta fasciitis , high arch. also my Last lumbar vertebral body is sacralized bil aterally with
the sacral ala, mi ld loss of lumbar l ordosis , and Mild facet arthropathy throughout. instead the
defendant Labante did coconspired with the defendant e.g., Co-wor kers , COC OJstody, and the
Attorney General Office agreeing by false statement that the pl aintiff sneakers size 12-c was
avai lable at the commissary prolonging pl aintiff pain & suffering and as a result I got permanent
nerves damages for l ife in my spi ne plus I l ost the refl ects in my right knee which test was
conducted by Ms.™ FIGURA, M.D. while housed at #-140 Corri gan.
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                                                                                          PAGE- 7 OF \ 02..
                       <mTINUANCE FR0-1 PAGE-3 SECI'IOO: "D. CAUSE OF ACTIOO "'

 Claim VIII: Violation of my 14th , 8th, & 1st Ament to my U. S. Const as to equal protection of the
 law violation, Crue l & Unusual Punishment, Deliberate Indifference to my serious medical needs,
 reckless, wanto, will ful , & mali cious infliction of pain f or the very purpose to only cause hann-
 & permanent physical injuries to this plaintiff which injuries do requi red daily medical treatment
 to include the administration of daily medication to treat the pai n & suffering of the pintch
 nerves in my s pine an injury that don' t have a cure, emoti onal stress disorder, violation of due-
 process, retaliation, prejudice, discrimination, humiliation amount others. Claim-I thru Claim-
 VIII are incorporated by reference as i£ fully re-stated herein.
 Spporting Facts: Defendant Michelle King, at the time of the claims in this complain arose she
 was a Correcti onal Counselor and at the same time was serving as the administrative r emedy coord-
 inator who was to invest igate any inmat es grievances file against staff and prison confinement
 condictions, she did co-conspired with her co-workers as mention in this compl aint to violated the
 plaintiff rights under the U. S. Const, she did denied the plaintiff due process of the l aw by not
 processing any of the claims i . e ., inmate grievances & property claims fi l ed by the plaintiff
 against her coworkers , the other defendants mention in this complaint, she did rejected any and
 every grievance '(s) the plaintiff filed telling the plai ntiff to first write thi s or that person
 & get informal resoluti on first when the plaintiff had told her that he did wrote to those -
 defendants, note and document every t i me he did speak to them as well and that none of those
 defendant did file any respond back, and that the 15-business days a s required per Administrative-
 Directive 9. 6 Administrative Remedies had expired for them to return me an answer she still di d
 not care.
 she was sent plenty of times to speak with the plaintiff and course me in to ordering a pair of
 sneakers from the canmissary telling the plaintiff that his size 12-c doesn' t exist in this worl d
 they figure I will sign & she will tald me in to doing it since she is a cuty & I been in pri son
 with no female intimate contact for two- (2) decates, (it didn ' t work ) that way. she either went
 to the extreme as to falsify documents, committed perjury whil e acting under col or of state law,
 and while under oath, On 12/17/15 I filed a Lost/Damaged Property Investigation Form (CN9609),
 On 1/13/16 she reply by stating: BASED ON SAFEl'Y & SIDJRITY YOUR JORDAN SNFAKERS WERE SENT HCJ,IB-
 PER YOUR ~      - (Property Investigation Number: 140- 16- 01 5P).
when all that is a l i e I got evidence by other staff' s from other facility were the staff at #140-
Cor rigan CC adrnited to s t ill be holding my both pair of sneakers and other property items that my
stuff are not lost neither damage, so why- (? ) they still haven ' t release my personal property that
 is theaf/larceny.
Multiple times she used to come to the cel l I was housed & unit and saw me i n extreme pain to the
point I was not able to move in a normal way, she saw me holding a bottl e full of hot water that
~-had~,pl aced on my back to easy the pain a l i ttle since that was the onl y thing I had availabl e
to my self for the pain it was time she used to back away from the cell door thinking I had a
conceal object behi nd my back. she retaliate by putting me on grievance restriction for a six-( 6)-
months period from May 17 , 2016 until November 17 , 2016 pursuant to A.D 9. 6 Section: (6 ), parag-
raph o, Abuse, #1 . because according to her math she did received seven-(7) grievance from me
from March 21, 2017, and May 11, 2017 to included an eighth one dated 5/15/2017 but as this
court can see she same me a notice of restriction a year prior to she receiving the grievances .
I try to let another corr counselor know Ms. Kimberly Daly, not alone to say I showed her I did
not filed that much grievances still I was kept on and instead I was threat that if I do not
comply additional restricti ons wil l be placed on my future ability to f i le grievances including
extending the restri ction anot11er six months. and the warden at the time defendant      I fa
FAucem, approved it . SH~~·( '.he~ \\J\.t:i L0 ~u.. l ~ \ \' 5; '
Claim IX: Violati(?n of my 8th, 14th, & 1st Amend to my U. S. Const Rights , as to be f r ee from
Cruel & Unusual Punishment, Deliberate Indifference to my Serious medical needs, wanton, willful,-
malicious, reckless, in a purposely infliction of pain for the very purpose to cause harm to this
plaintiff which physical injuries are permanent now, which injuries do required daily medical -
treatment to include administration of pain medication on a daily manner for the pinch nevers in
the _;i.aintiff spine. Claim-I thru Claim-IX are i.ncorporated by reference as if fully :re-stated :::.S
here,\'1
                Case 3:20-cv-00382-SVN Document 10 Filed 09/15/20 Page 35 of 133

                                                                                      PAGE-8 OF . \02.
                                                           11
                        ~ANCE FRCM P ~ 3 SEx:T.ION:         D. CAUSE OF ACTION'.I
Supporting Facts: Defendant KEITH STACK, at the time was the commissary operator supervisor for
Distri ct- 3 they sale commi ssary i t ems to inmates in the corrigan male prison even though1they are
station inside the woman prison in Niantic, he kept on tel ling the warden, Attorney Gneral Office,
the Dir of medical svs and his assistant a t Uconn CMHC, to the Deputy Wardens & to everybody and
they mother even to the plaintiff that he will be abl e through his already authorized vendor to
place an speci al order to order the plaintiff sneakers size 12-C,
making the plaintiff to waited & waited, for the mean t ime the plaintiff was being subjected to
pai n & suff ering, wlaking aroung the prison with no sneakers or any shoes for months , one of his
subordinat es Shannon Cather, who did try to aid the plaintiff with this matter and showed me three
difference t ype of decent sneakers of cx:>urse special orders that she was able to obtain out of her
computer & showed it to the plaintif f in which the plaintiff did agreed to order t wo out of the
three pairs he was shCMed by her.
It is the plaintiff believe that the defendants i n the prison custody did not agreed, did not
want the plaintiff to ge_~ those type of sneakers because they want it to punish the plaintiff by
taking his sneakers & byJinowing the plaintiff to order the ones showed to him by Ms. Cather, it
would it be no different then the ones the defendants did confi scated from the plaintiff, they
did not want the plaintiff wearing no stylish sneakers I guess-(? ) .
then he try to convince me that my sneaker s i ze 12-c do not exist , that,that size is only a
toddl er shoe.                                                            '
Claim X: Violati on of my 8th, 14th, & 1st Amend to my U. S. Const Ri ghts, as to be free from cruel -
& Unusual Punishment, Deli berate Indifference to my serious medical needs, wanton, willful and
malicious infliction of pai n in a reckless manner for the very purpose to cause harm, emotional-
di stress to this plaintiff and which injuries has cause this plaintiff pennanent damages for life
the pl aintiff required now dai ly treatment with pain medication f or the pinch nerves in hi s spine
have to be administer daily. Claim-I tbru Clairn-X are incorporated by reference as if fully :re-
SUpporting ~ f l e ~t Mikki Plus, at the time was the manager of the District-3 commissary
Dep ' t at Corri gan that sale items to male pri soners, this items are basic human needs protected by
the 8th amend of the U. S. Constitution, she at first keep telling the others defendants as mention
in this complaint that the plaintiff size 12-C is available in the commissary through their already
authorized vendor ' (s ) e.g., Keef e Group Account Manager Laura Palmisano for the carmis sary Network
who On December 14, 2015 Informed Plus subordinate Mr. Keith that:
                   Keefe SUppl y Company does not stock a size 12-C but I do have the
                              the abil ity to order this s i ze upon request.
                   Please note I cannot gurantee style or pr ice. If there is any ,
                             other information you need please l et me know.
There this proved at all times the defendants were aware if this shoes was or not available any
why it never got to the pl aintiff if it was availabl e , or why it was kept in secrect in between
defendants if it was not available, that only answer could only being negligent to their duties
of providing to the pl aintiff since the plaintiff is in their custody ans as such cannot care for
himself , the defendant did in fact co-conspired with the defendants as to violated the plaintiff
constitutional rights , as to not to comply with that portion of the settlement, as t o cause
permanent harm & injuri es to this plaintiff in the wor se way possible . On 2/14/17 at: 5: 07 P.M
I give defendant L' T Stadalnik a sneaker order form for sneaker ' s item #9060 size 12- c I never
got that size at all.
On May 11 , 2016 her subordi nate Ms. S.Cather, went to speak to me inregard of the sneakers, again
On June 20, 2016 at: 1:42 P.M a Jane Doe african arnerican, commissary operator, one of Ms. plus
subordinates went to speak to me about the sneakers si ze as no to be available, On August 8, 2016
Ms . Pl us with her subordi nate Mr. Stack went to see me in the unit about my sneaker ' s size not to
be available they came with a sneaker flyer for female for me to order f r om there and try s i nce
those were narrow, then the only wide widths ' wich only are D, 2E, & 4E, thats i t for every body.
from November 16, 2015 that the plaintiff was transfer to Corri gan cc, until June 5, 2017 that the
plaintiff was transfer out of Corrigan this defendant never got the plaintiff his size 12-c, the
plaintif f was forced to wear a regul ar 12-D size sneakers having to have a out of packet loss,
of $91 . oo U.S E1ollars when all she need it to do was report her findi ngs and she be cover, and r

                                                 ~)
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                                                                                          PAGE- 9 OF \ 0'2.,
                       ClB.l"INCJANCE FRCJt1 PAGE-3 SEX:'1'100: 11D. CAUSE OF ACI'IOO''
 might would of got my shoes, I would it be allow to order some new ones from an outside vendor
 or I would it only have t o hel d l iabl e the warden or attorney general office.
Claim XI: Violation of my 8th, 14th, & 1st Amend to my U.S. Const Right s , as to be free f r om
cruel & Unusual punishment, Deliberate Indifference to my seri ous medical needs, want on, wi llf ul
& mal ici ous infli ction of pain in a reckless manne~ ~ the very purpose to cause hann, emotional-
distress to this plai nt iffL which injuries cause to this plaintiff by this defendant niegligence,
are pet:manent ,danages for life that requi red daily medical care treatment with the administer of
 pain medication for the pinch nerves i n his spine. Claim-I thru Claim-XI are incorporated by
 reference as if fully re-stated hereinQ
SUP,p.orting Facts: Defendant Peter J. Murphy , know the plaintiff for over a decade
he was the wa r den at #137-Macdougall-Corr Inst, he was the warden when the
p l aintiff was allowed to ordered the pair of Black Nike Hyperfusion that On June-
1 6 , 20 16 the defendants d id consfiscated from t he plaintiff at #140- Corrigan CC
he could have remedy the wrong t hat was bei ng done to t h e plaintiff at the hands
of h i s s ubordinates instead he allowed the violation to continued .
Mr. Peter had a clear state of mind as t o what was being done to the plaintiff &
what need it to be done to aid the plaintiff but he decide not to do a thing, he
was the war den at Macdougal l when Cor recti onal Officer Mr. Vel asquez, was his
pr operty officer subordinate and who did provided a statement on behal f of the
plaint iff to help the plaintiff in his d i sciplinary report class B hearing that
the plaintiff was issued by defendant Mr. Sweet and Lt Mr . Stadalnik for the same
sneakers mention here in t his c l aim.
Defendant Mr . Murphy, after being informed of the viol ation through many report , -
& appeal f iled by t he p l a i ntiff , fai l ed to remedy the wrong , see ; Inmate Gr i evance-
Appe al Form- Le v e ls 2/ 3 IGP No.: 1 4 0 - 16- 059 AR, and IGP No . :140- 16-074 AR.
the defendant was grossly negl igent in supervising the subordinates who committed
the wr ong acts , defendant Murphy also did exhibited deliberate indifference to the
r i ghts of the plaintiff after he failed to act on information indicating that
unconstitutional acts were occurring. Colon V. Coughlin , 58 F .3d 865 , 873 (2d Cir-
1995) . On J uly 1st , 2016 at 10:05 A.M the defendant was conducting a tour in # 140-
Corri gan cc , I was housed in Housing unit-A cell # 113 and I the pla intiff spoke
to the defendant in front of both of his subor dinates Defendant ' s , Warden Mr. -
Santiago . A, & Deputy Warden Mr. Martin.R. , in regard of my sneakers and medical
treatment , plus lift & insoles , he d i d nothing.
he also denied the plai ntiff grievance abused appeal I GP #: 140- 16- 074A, On 3/16/-
2 016.
On March 3 , 2016 defendant Murphy did reply to my March 1 , 2016 in regard of me
bei ng a l low to purchase some sneakers from an outside vendor he denied me by
saying , all footwear must be ordered by commissary unless a medical certificate ·
is issued for footwear specific to a medical condition. and instead forward a
copy of his let t er to his subordinate Mr. Santiago . A. and not to medical I did
provided Murphy with a Physician ' s Order dated 10/2/02 for shoes by medical , I
provided a clinical record dated 6/9/04 , another physician ' s Order dated 6/28/oS ,
by podiatry Dr . Henry Fedus for outside shoes, and the above by Timothy Silvis-
M. D for outside shoes , and a Utilization Review Request Form HR202 fo r outside
shoe gear with a routine priori ty of 30-60 days. still the defendant ' s denied me.
Defendant Mr . Murphy On 12/13/ 1 6 did denied my I nmate Griev ance Appe al Fo rm-
en 9 604 IGP No. : 140-1 7 - 0 5 9 AR against Correcti onal Officer Mr . CASSIDY, i n
regard of a custom policy they got On A- Housing Uni t at #140-Corrigan to denied
you access to hygine items and not being able to u sed a razor to shave unless you
are a permanent party e.i. , a worker house there. as a none permanent party you
can be house there for a 90-days period more or less . they 're prejudice against
who they allow or who they don tallow to shave , even when you buy your own r azor
                                               (tf)
               Case 3:20-cv-00382-SVN Document 10 Filed 09/15/20 Page 37 of 133
                                                                                  PAGE-10 OF\D2,
                 CONTINUANCE FROM PAGE-3 SECTION: "D. CAUSE OF ACTION/'/
the officer in that unit won ' t hand you a razor , when you present them your razor
card , not even when you go it court can 't shave and got to walk around looking
like your hygine is low, can ' t used an eletric razor that you purchase in commis-
sary because only the worker cells there have eletricity.
him with his subordinates e.g., warden Santiago.A , & c/o Mr. Cassidy , did
co-conspired to deprived the plaintiff of a basic human need, this is to included
Deputy Warden of Oper Robert Martin-defendant, who on 7-8-16 wrote to me telling
me per Corrigan Razor policy, no razors are distributed in A pod , onl y to workers
and handicapped, also the Unit Manager of that Unit at the time L't Mickey-
Gillete, told me the same no rezor is only for permanent party and that the policy
won ' t change.
the plaintiff have way to many proof of evidence of many different occasions that
will show this court this defendant was pretty aware of what was going on and what
the p l aintiff has been allowed to get through all this years.
Claim XII: Violation of my 1 4th, 8th , & 1st Amendment to my U.S. Const Rights,
as to equal protection of the law, also to be free from cruel and Unusual Punish-
ment, Deliberate Indifference to my serious medical need, wanton, willful, and
malicious infliction of pain in a reckless manner for the very purpose of causing
harm , emotional stress - disorder, negligence , and permanent damages injuries that
required daily medical tr~atment with the administration of pain medication daily
to treat the pinch ner.r1~n ~
                     as     ~   r   s
                                        rJl~E\·1ere:i.n.
                                          CJ¥m-I tbru Claim-XII are inoorporated by reference-
                                          L
Supporting Facts: DefendantJoseph Iozzia, knew the plaintiff since 6/ 1 6/2009
when he was the property officer there in #140-Corrigan CC and where he himself
On the above date at 9:30 P.M did signed an Imate Property Inventory Form (CN -
6100 1) where he did document that the plaintiff was in possession of a pair of
Jordans-(which were the same pnes c/o Kudzal did confiscated on 11/11/15), Nike,-
& New Balance. and could had correct the violation against the plaintiff as a
custody supervisor , Unit Manager and former property officer.
On 12-14-15 at 3:51 P.M he sent an email to all of the defendants where he admited
that the plaintiff did have authorization from the attorney general office to
order sneakers from the outside vendor, but that now commissary was able to order
the plaintiff his size through a special order that will give the ability to order
and that the special order from the AG ' s office said nothing about a medical
need for the sneakers , just odd size . and that he was hoping this with that infor-
mation we can have hiss pass pulled ana just make note that he is a llowed a
special order through our vendor.
as this court can see from the defendsnts own evidence they did planned at the
same time conspired together to accomplish their objective to harm the plaintiff
and not allow him to order his size shoes , when in fact the plaintiff do have
medical issues for it , the one issue the defendants make worse by now helping to
harm the plaintiff more to the point of having pinch nerves for life.
Iozzia wrote a message to 1st shift propertyoccifer defendant Christoph.er Muckle,
stating to muckle that: Lawyer for sosa called in regards to his glass es and - -
Jordan's I explained our policy as well as why WE PULLED his sneaker pass if you
get a chance call me so we can go over a few things with this iozzia. this showed
clearly their intentions to purposely and deliberately in a deliberative way all
the def endants want it to do was to harm the plaintiff.
every single efford by the defendant's was to removed the plaintiff off any
treatment confiscated his sneakers, not to allow the plaintiff to order any other
more sneakears from ai:1 outside vendor, n<;>t to hoi:io~ed tha~ portion of the _ n_. \ ·~• .•
settlement agrrement instead he altered it by writing on it . ~ . ·1--25.-,~ OJ<.. · O ,v,
~ ~W .M ~~Vw~ \ < . ~ 1~                             S- 1 i ~ Sv}C; u.>~ \'v<J;f   ~ile
        ~                                        (,\ o)
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                                                                                                       PAGE-11 OF \ C'Z.,

                       CONTINUANCE FROM PAGE-3 SECTION: "D. CAUSE OF ACTION~

 Cla:i11l XIII: Viol ation of my 14th, 8th, & 1st amendment to T! U.S. Const Rights, as to violation
 of equal protection of the law, also to be free from crueal and unusual punishment, Deliberate-
 Indifference to my serious medical need, wanton, willful, and malicious infliction of pain in-
 a reckless manner for the very purpose of causing harm, emotional stress-8\sorder, negligence,
 and r;,ermanent damages injuries that required daily medical treatment with the administration of
 daily pain medication to treat the pinch nerves in mta~ne. Claim-I thru Claim-XIII are incorpo-
                     rate.!.f:N reference as if fully re-s   herein.
 Supporting Facts: Defendant Christopher Muckle was the 1st shift property officer having seniori-
 ty over defendants Kudzal , sweet, evan, who had a clear state of mind as to what the plaintiff
 did own by looking at the plaintiff property file, he was aware of the items the plaintiff used
 to own back in 2009 , he knew that many other inmates were wearing Jordan sneakers in the others
 general populations pop, he knew that there was no regulation stablish that stated inmates can' t
 wear no Jordans or any of the two pair of sneakers confiscated by his coworker, Muckle had the
 power and authority to release the pl aintiff footwear, but for following the c/o code (that no -
 other c/o ' s goes against what another c/o said or do against a prisoner) he decide not to remedy
 the wrong.
 he knew that all of the legal documents brown folders that they took from the plaintiff are allow
 for the plaintiff to have if anything that was mailed from the plaintiff former attorney to the
 plaintiff former correctional counselor Steve Meigs while the plaintiff was there at corrigan
 and he give it to the plaintiff cause it is allowed for inmates to have.
 ~-er--~~~~ttif~tffl..~W~~~~*••••·--_,•• ... - ~
 w~
 Cla:i11l XIV: Violation of my 8th, 14, & 1st amendment to my U.C. COnst, as to be fr~e from cruel &-
 Unusual punishment, Deliberate Indifference to my serious medical need, wanton{ willful, and.-
 malicious inflicti on of pain in a reckless manner for the very purpose of causing harm, emotional-
 stress-disorder, negligence, deliberately cause permanent physical injuries that required daily
 medical treatment with the administration of pain medication on a daily basis every twelte-(1 2)-
 hours to treat the pinch nerves in the ~laintiff spine. C..\S:,""1-_-,.. lc"'-.'(\L<.,\~,~-'il.\\) ~\('e ,~(J)'(~o-
                      'fc,...t~ \5¥ ~e~e,1Ce'."1U.. 1;1.. • '"W\\"1 '{'t-~~ ~'(t, ~ ·
 Supporting Facts: Defendant JEFFREY ZEX;ARZEWSKI was at the time the D\lputy Warden of progararns &
 treatment for the institution at #140- Corrigan cc, and his area of responsiblities was to make
 sure that the plaintiff receive the proper medical care need it that satisfy the community
 standard . ©l'\I\ l ·,__2.,-- \5 ~-,·\ \'. o'D \'.l.,_. N'- "J... S-\f'M({ ~-~\. ~                ~\!¼\Q!li1.
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                                                                                          \"i7(o'\ • Aswegan v. Bruhl, . 965-
 F.2d 676, 677-78 (8th Cir. 1992) (Deputy Warden and Security Directd nei"ci liable for failure to
 correct known violations of doctors' orders); Hill V• .Marshall, 962 F.2d 1209, 1213 (6th Cir. 1992)-
 (Deputy Warden of Treabnent held liable for failure to respond to canplaints despite his knowledge
 of a breakdown in the medical system). as the record show the defendants did f ailed to carry out
 their statutory duties see; Meade V. Grubbs, 841 F.2d at 1531.
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                     CONTINUANCE FROM PAGE-3 SECTION: "D.C'AUSE OF ACTION"
CI.AIM "IN: violation of my 8th, 14th, and 1st amendment to my U.S. Constitutional Ri ght' s, as
_           to be free from cruel and unusual punishment, del iberate indifference to my serious
medical need, wanton, willful, and malicious infliction of pain in a reckless manner for the
very purpose of causing harm, emotional stress-disorder by causing i n a negl igence manner -
permanent damages, inj uries that required daily medical treatment with the administration of
daily pain medical patch, & pain pil l ' s as well to treat t he pinch nerves in my spine.
Claims-I through claims-"/N are incorporated by reference as if fully re- stated herein.
SUPPORTING FACTS: Defendant SHARONDA CARIOS , was at the time a counselor supervisor assigned
to be the facility act ive ADA- Coordinator at Corrigan CC, On Sept 27, 2016 the plaintiff did
submitted a request for reasonable accommodations form-(CN101902) in regard of my sneakers
being confiscated by c/o ' s Kudzal & Evans to included m¥ l eft leg lift & Arch Support Insol es
I direct her to check my Medical files/records (I) & (J) those files will showed her color
pictures of the sneaker's confiscated, plus sampl es of Motions for contempt, and copy of the
agreement- settlement in regard of the same matter. Defendant CARLOS did returned me back my
not even process . so I on 11-15-2016 did fil ed an appeal under the ADA- standard, On Feb 15, -
2016 the appeal was denied.
by stating that there was a l ack of proper documentation ' s when in fact it wasn ' t that there
was no documentation of an approved lift for my l eg, nor any request t o be accoITTJ1odate with a
lift, and for the plaintiff to resubmitted appropriate reques t and supporting documentations.
see; ADA-appeal I GP#140-17-052A. When in fact the plainti ff did provided & produced every
singl e documentations for every single issue's, also she could had done her job by going to
the medical unit to review the plaintiff medical record ' s with the medical staff assistant
but inst ead did choose to make ease for herself and just denied the pl aintiff, not to go
against her subordinates and co-worker ' s even though she took an oath to care for the well-
being of inmate' s and just l ike that she denied the plaintiff due process, at the sametime
subjecting him to pain & suffering, emotional stress disor der, permanent injuries,
pinch nerves in the plaintiff spine.
On 11/6/16 she wrote she was informed by the (CMHC) administrator- ? commissary is able to
order the sneaker ' s the plaintiff need it request i . e., size-12c and that medical won 't be
able to special order my sneaker's, so she returned me back my document ' s once again
un-process. On 9-30-16 I subnitted another Reasonable accorrmodations form-(CN101902) requesting
treatment for my skin Dermat itis again it was returned back to the pl ai ntiff unprocess.
On 10- 20-16 she wrote to this plaintiff stating she will follow up with the facility medical
administrator-?. The plaintiff appeal On 11-15-16, On 12-15-17 she issued a double disposition
to one single appeal as to : Denied/Rejected see; ADA-appeal IGP#140-17-053A. stating that my
appeal purpose is unclear, documentation of any denial of request is not included. (How can -
it be include when she never did process it), deni al of accommodation i s not articulated,
and claim of denial of due process by her is inaccurate she know she didn't process it, all
she did was her best to insult the plaintiff intelligent .
~ 11/15/16 the plaintiff filed a third-(3rd) ADA-accommodation Form,::.(CN101902) see;
IGP#140-17-051A requesting assistant by medical to apply my skin medication ~n 111y back, for
my medical laundry bag which was t o make my laundry separate due to my skin ~ondition and
which bag was taken from me by l aundry C/o Mr. WILLIAMS and by defendant KARA PHIILIPS CHNS,
I also did attached a 21-pages total documentation to that ADA-Form, it was returned back to
me not process . On 11/6/16 the defendant CARLOS wrote to the plaintiff stating that in
consultation with the (CMHC) administrator-? I shall speak to who was my unit manager in regard
of the mess up mattress that was causing the plaintiff major pain & suffering due to his back/-
spine bad condition, and that she was going to fol low up with that unit manager-? and nothing

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                      C.ONTINUANCE FR(l.1 PAGE-3 SECTION: "D.CAUSE OF ACTION"
ever did happen, when as an ADA-coordinator it is within her are of responsibilities to
assist the plaintiff, the plaintiff need only to submitted the form CN101902 and it is her
duty to process it and to contact the proper other person staff's to arrange for such requested
accolllllodation's, it doesn't rest on the plaintiff to due her job, I can't take care of my
own serious medical need the duty of care owe to the plaintiff rest on her, that is why she
got her job title as ADA-coordinator is to provide and/or assist in any type of treatment's,
assistant that inmate need's.
On 12/12/16 defendant CARLOS wrote to the plaintiff stating that in consultation with
defendant GALLAGHER On 12/12/16 there is not a warrant from medical that stated the plaintiff
have any disabilities and/or any need for the size-12c sneaker's the plaintiff need, that
there is nothing from custody to warrant a special ordering process the shoes can be ordered
through commissary as the plaintiff had been informed by commissary.
'Ihe evidence present to the defendant by the plaintiff was overwhelming to showed he have a
serious medical needs I produced many physicians and experts diagnosis. the plaintiff
condition due to the defendant's negligent are obvious to even a lay person. see;
Roberson V. Goodman, 293 F.Sllpp.2d 107,5 (D.N.D. 2003) Id. at 1080. instead the defendant
decide to take adverse action's against the plaintiff in a retaliatory manner together with
her co-worker's e.g., supervisor's, subordinates, for the plaintiff exercising his first
amendment U.S. Constitutional Right. Fspinal V. Goard, 558 F.3d 119, 128 (2d Cir. 2009)-
quoting Gill V. Pidlypchak, 389 F.3d 379, 380 (2d Cir. 2004). The defendant with her
superior's could had review the plaintiff past & present medical files history which showed
clearly all & every of the plaintiff physical disabilities e.g., chronic low back pain, curved
Spine.
the defendant own policy Administrative Directive 10.19 title ADA defined on page 1 of 7
section: (3) Definitions, (C). Disable Inmate. (D). Major Life Activities. Per that same
directive 10.19 it was defendant ANTONIO SANTIAGO-(warden) duty to make sure defendant Ms. -
CARLOS was trained in the requirement of that directive and those ADA requirements that are
relevant to the unit ADA coordinator's duties. those duties' shall include, but not limited
to the following:
(A). Review proposed and existing unit directives, policies, and procedures to assess
compliance with department guidelines regarding ADA-compliance with respect to inmates. -
Provide recommendations to the unit administrator-(warden) for potential corrective action.
(B). Receive copies of all inmate appeals which relate to ADA issues and conduct initial
processing of CN-101902, Request for Reasonable Acconmodation Forms.
(C). In consultation with the unit administrator, the ADA-coordinator shall resolve requests
for accommodation by arranging for: 1). evaluation of inmates by qualified experts as -
Necessary; 2). Transfer to appropriate correctional facilities; and 3). ADA required -
~uxiliary aids as required, consistent with the professional evaluation of the disability and
much more. see; Directive 10.19 ADA page 3 of 7 Section's: S. Unit ADA Coordinator. - (A)-(G). -
Id.
The defendant did none of the above, failing to follow her own agency regulation's policy
procedure, as required per Directive 10.19 ADA page 4 of 7 Section: (C). Request for Reasona-
ble Accomnodations. she failed to comply with Directive 10.19 page 5 of 7 Section: -
Reasonable .Acconmodation. (7). Reasonable Accoomodation Efforts. per this same section the
defendant'(s) was to maintain in section: (6) of the plaintiff Master file, the documentation
of the initial determination. That action by the defendant will determined she did not did
as required since you will found nothing in regard to such inside the plaintiff master file.



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                       CONTINUANCE FR.01 PAGE-3 SECTION: "D. CAUSE OF ACTION"
Pursuant to Directive 10 . 19 ADA page 5 of 7 Section : (8) Appea l of an Ame ricans -
with Disabilities Ac t (ADA) Decision. a copy of all ADA appeal ' s and its -
dec i sions rendered regar d i ng t he appeal shall be maintained by the Department
ADA-Coordinator . i n that c ase that wil l it be defendant ' (s) Colleen Gallagher , -
MA, CADAC, CCHP , wh ich defendant won't be abl e to prod uce an y appeal ' s decision
since it is a ll a big joke to them, not to fo llow procedures, not to obey the
law, not t o obey the law of the l a nd, not to respect the plaintiff right ' s.
"SERIOUS MED ICAL NEEDS"
A medical condition disabl es the pr isoner or interferes wi t h daily activi t ies
in assessing seriousness see; Sprull V. Gillis , 372 F.3d 218, 236 (3d Cir . 2004)(hol ding
allegati on of back conditi on causing pain so serious it has caused pl aintiff to fal l down
sufficiently pled a serious need); Hayes V. Snyder, 546 F.3d 516, 523 (7th Cir. 2008) (holding-
that object ive evidence of pain is not necessary; sel f reporting may be the only evidence) .
The seriousness of a medical need is det er mined by factors i ncluding but not limited to :
1). Whether a reasonabl e doctor or pat ient would perceive the medical need in questi on as
important and worthy of comment or treatment ' 2). Whether the medical condi tion significantl y
affects dail y act ivities, and 3). the exi stence of chronic and s ubstanti al pain. '
Brock V. Wright, 315 F. 3d 158, 162 (2d Cir. 2003)(citations omitted) ; accord, Suarez V. Keiser, -
338 F.Supp.2d 442, 444 (W.D.N.Y.2004).
plaintiff medical record' s showed he has been diagnosed with Mild Scl erosis, Wire on the Spine,
and much more, and still not enough for the defendant who instead did subject the plainti ff to
inhumane treatment. Kaufman V. Carter, 952 F.Supp.520, 526 (W.D.Mich. 1996)(Failure to provide -
bilateral amput ee with rubbing alcohol to clean his prosthet ic and "ace wraps" to maintain t he
size of his stumps , resulti ng in inabil i ty to use his prostheses and conf i nement to a wheel chair
supported an eight amendment cl aim) ; Candelaria V. Coughlin, 787 F.Supp.368, 378 (S.D.N. Y.1992)-
(deni al of orthopedic treatment and dietary suppl ement to par al yzed prisoner state a claim) ,-
aff' d. 979 F. 2d 845 (2d Cir. 1992). expert testimony for medical is not necessary to establish
the existence of a disability see; Colwell V. Suffol Count{ Police Dep'.t, 967 F.Supp. 1419, -
1425 (E.D.N.Y.1997), r ev'd on other grounds , 158 F.3d 635 2d Cir. 1998).
the pl aintiff "major life act ivity" is prevent and severel y restrict from doing acti vities
that are of central importance to most peoples daily life, and the impact is permanent. see;
The ADA Amendment Act 42 U.S.C. § 12102(2). (A). In Gener al : Walking, St anding, Lifting, -
Bending, Reading, Concent r a ting, and Working. see; To ota Mot or Manufacturin Kentuc V. -
Williams , 534 U.S. 184, 197- 98, 122 S.Ct. 681 (2002 ; Degrafinreid V. Ricks, 417 F. Supp .2d -
403, 412 (S.D.N.Y. 2006) , Battle V. United Parcel Services , Inc., 438 F.3d 856, 861 (8th Ci r . -
2006). al l the defendant ' (s) did was provided me the plaintiff with disparate treatment. see;
Regional Fconomi c Conmunity Action Progr am, Inc. V. City of Middletown, 294 F.3d 35, 49 -
(2d Cir . 2002) .
CI.AIM XVI: Viol ation of my 8th, 14th, and 1st amendment U. S. C.Onstitutional right, to equal
             prot ection of the law, due process violat ion , cruel & unusual punishment, negligence,
permanent physi cal i nj uries- (pinch nerves) requiring daily medical treatment for the rest of
my life in my spi ne, other ' s g. e. , denial of access to my embassy counsel by phone call' s.
Cl aims- I through XVI are incorporated by r eference as if f ully r e- s t at ed herein.
SUPPORTING FACTS: Defendant STEPHEN FAUClIER, became the warden/unit adminstrator at C.Orrigan CC
when defendant Antonio Sant iago l eft . On 5/17/17 FAUCHER denied my i nmate grievance -
IGP#140-17-173AR for denial to a legal call to my Embassy C.Ounsel under plaintiff Right ' s on
consul ar Rel ations under the Vienna Convention Article- 5 and Article- 36. see;
                                                 14
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                       CONTINUANCE FR<X-1 PAGE-3 SOCI'ION: ''O.CAUSE OF ACTION"

Sosa V. Alvarez-Machain, 12 S.Ct.2739 (2004). On 5/22/ 17 I appeal and On 6/22/19 defendant
Fdaward Mal donado , denied the appeal he agreed with defendant FAUCHER the reason for denial
was my embassy counsel general was not an organization providing legal services to inmates .
and that they wasn ' t representing me on an open current case or providing legal services.
their none-sense reason ' s exactly make no- sense I provide them with my INS Alien No.: -
043- 905-894 which case was pending they choose to ignored that. I was trying to call attorney
Delia Felix at the counsel office at (212) 768- 2480 Ext 1003.
On 4/27/17 I filed a grievance IGP# 140-17- 162AR since I was denied a legal call to the U.S
department of Justice at: (781) 359- 7500 by FAUCHER subordi nate defendant Kimberly Dal y, On
5/12/17 he denied my grievance , On 5/15/17 I appeal it, On 6/15/17 Defendant Eward Maldonado,
denied my appeal and agreed with FAUCHER decision.
On 5/17/16 the defendant ' (s) in r etaliation did placed me on a six ' s- (6) month ' s of grievances
restrict ion until 11/17/16 based on t he fact that defendant Michelle King told FAUCHER I had
filed seven-(7) inmate grievances between 3/21/17 and 5/11/17, when in fact it was not truth
since many of those grievance' s were withdrawn by t he plaintiff prior to any final disposition
being i ssue. On 2/21/17 I filed a grievance IGP#140-17-127AR in regard of t he defendant using
hygiene items as punishment commissary item 805-Ponytail el astic Braided an item avail abl e to
all level- 4 general population facilities t hey claimed it was safety & security failing t o
discuss why-? without appl ying the nJRNER, test, they don ' t all ow you neither to purchased that
item if you ' re on lost of corrmissary a most have item for a basic human need protect by the
8th amendment U.S. Const .
On 3/19/17 I filed a level-1 grievance IGP#140-17-146AR in the matter of the mixing of security
                                                                                  a
Risk Group Inmates l evel-5 with inmates level- from general popul ati on as result I had not
onl y being put at risk for failure to protect but I had being denied medical treatment in
violation of my 8th amendment U. S. Const itutional right ' s , it al so interfered with the prison
daily life activities for the general population i nmates at Corrigan CC. while at C.orrrigan CC
due to thi s my access t o medical care treat ment was either terminated, delay, or denied multyple
times while me being present in medical cause t he c/o ' s bring t he gang ' s member ' s up to medical
from a gang uni t not cari ng who was at medical fir st getting t reat it.
On 2/17/17 I wrote to defendant Ant onio Sant iago t ell ing hi m about the situation going on for
over a year, as to how that interfere<:½~~ with the prison daily life activities . On 2/17/17
fisrt shift I was being examine by the prison doctor Ilona Fi gura M.D I was force to j ump off
the examination t able and exit the examination r oom & medical area cause the Officer ' s were
bringing a Securi ty Risk Group-(SRG) of inmate' s around 9:50 AM-10:30 AM Register Nurse Mr :-
Jeff Sprague was the Nurse cal l i ng the shots rushing me out of the medical area not respecting
my right' s neither the doctor who was checking me out .
On 1/30/17 at 6: 30 PM c/o Mr . EVERY, kick me out of the medical unit whil e I was wai ting for
my treatment cause they were bri nging inmat es there from another facili ty STANLEY J . RADGOWSKI -
CORR INST to b~ treat it by medi cal , I was force to go back to my unit un-treat it l oosing my
turn and my daily treatment . Radgowski is a level 2/3 facil ity custody bring them there for
treatment even i nmates from t he hal f way house' s with street cl othes on. I was a guess at the
own l evel- 4 facil ity I was housed. the facili t y system at Raymond L. Corrigan CC Di strict-2
do have a Systematic pr oblem that custody & medi cal staff ' s have t o choose and favor ot her
inmate ' s i n top of t he inmates ' already housed there.


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                CONTINUANCE FROM PAGE-J SECTION: " D.CAUSE OF ACTION"
On 3/19/17 I filed a grievanc.e IGP #140-17-146AR defendant FAUCHER, denied i t On 4/26/17 I
filed an appeal On 4/28/17 and On 5/30/17 Defendant MALDONADO, denied it agreeing with
defendant FAUCHER as usual.
a High-Security Level 4/5 prison no cameras work in the main hallways' no metal det ector ' s
you find no officer's at all in the main hallway ' s most on 2nd shift since warden and
deputy war den ' s are gone. the only time you see c/o ' s in the hallways is during medication
call ' s so they can rush you back to the cell ' s so they can leave again to hang out at other
unit ' s leaving their p~st open/enty a real failure to protect , a safety & security violati on
Farmer V. Brennan, 511 U.S. 825, 833, 114 S. Ct. 1970 (1994).
On 1/27/i7 i filed a grievance IGP#140-17-104AR due to the unsanitary filthy food services
conditions as to present a health risk, stated an 8th amendment clai m. Darke Velasco, 207 -
F.Supp. 2d 809, 812-13 (N. D.I11. 2002)(allegation that Aramark food services company did not
handle food properly and served food so unsanitary as to present a health risk stated an 8th
amend cl aim) •
When the food leave the kitchen to be delivered to the 2nd or 3rd floor ' s housing unit's it
be placed inside some br own pl astic' s cars not suitable for food, the cars can't be plug it
doesn ' t have a heater to keep the food at temperature l evels, can' t l ock it to make sure
nothing is pl ace inside any food t rait's to harm prisoner ' s by guards or others inmates
around since most of the time you find the food cars un-attended in t he hallways.
To send the food up to t he unit s it get placed inside a DUMBWAITER that is also used to send
dirty l aundry, garbage bags, the beverage be pl aced right on the f ilthy dirty Dumbwaiter
floor that often have the f luids release by the garbage bags that break l icking in there
i s just inhumane. Palmigi ano V. Garrahy, 443 F.Supp. 956, 962-63 (D.R.I.1977)(filthy food-
services conditions were uncons t itutional). a dangerous practice that present s a serious
r i sk Capps V. Atireh, 559 F.Supp. 894, 914 (D.Or.1982)(Unsafe mi l k pasteurization pro~edure-
found unconstitut1.onal); Robles V. Coughlin, 725 F.2d, 16 (2d Cir. 1983)(allegations of -
cont aminated food states a eonstitutional claim). Caldwell V. Caesar, 150 F.Sup,p.2d 50, -
62-63 (D.D.C.2001)(holding expert evidence of unsanitary and unsafe food handl ing practices-
by Aramark supported an 8th amend claim).
On 3/1/ 17 I f iled an appeal On my 1/27/17 grievance and defendant MALDONADO denied my appeal
agteei ng with defendant SANTIAGO as usual. I also did address t he low food portion serving
On 1/8/16 I filed a gr ievance IGP#140-16-062AR, On 1/11/16 my gr ieva::i.ce dispos ition was
compromise.
CI.AIM XVII: viol at ion ,)f my 14th, 8th, and 1st amendment to my U.S. Constitutional Right s,
             violation of the equal protection of the law resulting in cruel and unusual
punishment l eaving me with permanent l i fe injuries that required daily medical treatment for
the pinch alerves in my spine, i n a retaliatory manner for exercising my 1st amend U.S. Const
Right. Claim-I through claim-XVII are incorporated by r eference~~ if fully re-stated herein.
SUPPORTING FACTS: Defendant : KRISTINE BARONE, is very familiar with the plaintiff for over a
ten-(10) year.s per iod in 2009 while housed in CX)RRIGAN CC, BARONE was a counselor Sup-arvisor
and t he unit rnan1:1ger for the unit the pl aintiff was housed in, she thec1 left tr> the DOC
central office as the administrator for th1:~ DOC Freedom of Information office, and at all
times until now she always did had a positive attitude toward the plaintiff and his medical
need' s.
she was very familiar with the plaintiff personal property confiscated ~y "tier subordinates,
which sneakers , gl asses, medical lift, and arch support in~oles the plaintiff had_when she
was his unit manager. On 5/17/17 I wrote defendant BARONE in regard of her subordinates


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                 CONTINUANCE FROM PAGE- 3 SECTION: " D.CAUSE OF ACTION"
evidence " shall" be presented at the hearing, as determined by the investigator, whenever
practicable, otherwise, a sampl e, photograph, laboratory test , or a written description
of the evidence " shall" be presented . nothing as stated above was done beside, the two- (2)
photographs send to her cellp]:ione making her credibility her worse enemy .
The defendant disciplinary procedure own policy is Unconstitutional since it give the defendant
all the power and authority within this prison wall ' s to control and manipul ate the whole
defense process on behalf of the plaintiff by limiting all the opportunities for his defense
and denied due process. Grillo V. Cou lin, 31 F.3d 53, 56 (2d Cir. 1994)(accused must be -
shown the same evidence as the fact inder • Francis V. Coughlin, 891 F. 2d 43, 47 ( 2d Cir.·-
1989) ( evidence must ~Qe~disclosed at the hearing and not after it).
Defendant Eberle as the OHO should have check the sneaker ' s herself and/or take any pictures
herself r ather than relying on a second-hand description of it. Youny V. Kann, 926 F.2d 1396-
1400-02 ( 3d Cir. 1991); Young V. Lynch, 846 F.2d 960, 963 (4th Cir. 988)(due process may -
require production of evidence when i t is the dispositive ttem of proof it is critical to
the inmate ' s defense, it is in the custody of prison officials, and it could be produced
without impairing institutional concerns).
''LIBER'IY INTERFST''
The defendant's regulati ons A.O 9. S creat ed a liberty interest . which right at issue is
independently protected by the Constitution , imposing atypical and significant hardship on
the pl aintiff in relation to the ordinary incidents of prison life . Sandin, 515 U.S. at 484.
A Statute , Rul e, or Regulation creates a liberty or property interest or "Entitl ement" i f
it l imits the discretion of Official ' s see; Connecticut Bd of Pardon V. Dumschat 452 U.S . -
458, 466-67, 101 S.Ct. 2460 (1981), Hall V. Unknown ents of New York State De 1t of -
Correctional Services, 825 F.2d 642, 4 - 46 2d Cir. 19
The most common way of l imiting discret ion is t o used ''Explicitly Mandatory Language" in
connection with requiring suBstant ive fredicate. Hewitt V. Helms , 459 U.S. 460, 472, 103 -
S.Ct. 864 (1983); accord, Kentuc De t of Corrections V. Tho son, 490 U.S. at 462;
Board of Pardons V. Allen,       U.S.     ,    -    07 S.Ct. 24 _ 987). mandatory language
often means words like "SHAU.", ''WILL", or }MJST' Hewitt , at. 471. also _. · , , . I
Board of Pardons V. Allen, 482 U.S. at 378 (Statutes with "shall" and "if" ''when" or
"subject to" have the same effects as statutes with "shall" and "Unless") . The Sandin,
analysis focuses on atypical and Significant hardship on the inmate in relation to the
ordinary incidents of prison life. Sandin V. Conner, 515 U.S. at 483-84 (emphasi s Supplied) .
"WE RIGHI 10 HFAR AND BE HEAR"
as Stat ed it above and on the plaintiff appeal to his Disciplinary Report filed July 5, -
2016 IGP#140-17-002A defendant Eberle, didn ' t want to hear what I had to say as the OHO she
was prejudice to the plaintiff denying him due process which the mos t basic due process
right is to be heard. McCann V. Coughlin, 698 F. 2d 112, 123 (2d Cir. 1983)(Prisoner tried-
to present a defense to one charge , was interrupted and told that the committee was moving
on to the next charge). Mack V. Johson, 430 F.Supp. 1139, 1145 (E.D.Pa.1977)(committee refused
to let the prisoner expl ain why he denied the charges) aff'd, 582 F.2d 1275 (3d Cir. 1978).




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as a DHO defendant Eberle, should had known those charges against me with that DR were
"BOGUS" in a malicious, sadistic way, in retaliation based on the fact the weapon ' s they
were after and couldn ' t located, and for intentional infliction of emotional distress.
Orwat V. Maloney , 360 F.Supp. 2d 146, 165 (D.Mass.2005). and to erroneously subjected me
to physical harm punishment to my health.
My process due prior of finding me guilty that process was contaminated by the introduction
through the defendants actions of false inculpatory evidence the introduction of false
evidence in itself violates the due process cl ause .•• Winston V. Cou~lin, 789 F.Supp. 118, -
120-21 (W.D.N.Y. 1992)(holding allegations that officers filed a fabricated rep~rts to ·
conceal their eiglh.b amendment vi olation state a cl aim).
it rise a conflict of interest also it vlolated the defendants own policy Administrative-
Directive 2.17 Employee Conduct, by defendant STADALNIK being the custody supervisor who
approved the "DR" defendant SWEEr issued to the plaintiff, since Stadalnik was personally
involved in the incident himself, he was biased he was al so the same supervisor i n charged
of the search in plaintiff cell on June 16, 2016 2nd shift when they couldn ' t located the
weapon ' s so he would be partial, he was also at the time the supervisor for the property
area in that prison the overseer of all the officer ' s working the property. STADALNIK was
directly involved in the search and its execution. this is contra to Madera V. Goord, 103-
F.Supp.2d 536, 540-41 (N.D.N.Y. 2000). Peo l e V. S rior Court (Hamilton , 30 Ca. App 3d-
1592, 281 Cal. Rptr. 900 , 903-04 (1991 o 1ng earing o 1cer w o a previously reviewed
and classified the charge had acted in a prosecutorial rol e and due process required her
disqualification). Francis V. Coughlin, 891 F.2d 43, 46-47 (2d Cir. 1989)(allegations that-
hearing officer suppressed evidence, distorted testimony, and never informed the plaintiff
of evidence against him raised a material issue of lack of impartiali ty) .
Gi ano V. Sullivan, 7099 F.Supp. 1209, 1217 (S.D.N.Y.1989)(holding "unacceptable risk of-
unfairness" by staff witness and lieutenant who drafted the misbehavior report). There is
a strong suspicion that DHO Eberl e did not have an open mind during the plaintiff hearing
date On June 29 , 2016, not being impartiality. Turrminia V. Kuhlman, 139 Misc.2d 394, 527-
N.Y.S.2d 673 (N.Y.Sup.1988). I told DHO-Eberle, that on June 15, 2016 after I proof my
sneaker ' s cost less then $100.oo and that a copy of the purchase receipt with a color
picture was placed inside my pro~erty and medical fil e ' s - (rneaning that at all times the
defendant's had the evidence in their hands showing the sneaker's were authorized)- defendant
Sweet open the cell asking me if I have the receipt of purchase I said yes he then l eft to
return back with defendant STADALNIK with a form for me to sign to dispose of my sneaker's
cause to them my sneaker's worth over $100.oo I refused to sign so that is when they both
told me they was going to issued me a Disciplinary Report-("DR" ) which DR SWEEI issued it on
6- 15-16 at 5:15 PM and STADALNIK APPROVED IT & signed it On 6-16-16 at 3:1S PM, and delivered
to me by c/o Mr. TORRES on 6-16-16 at: 5:00 PM, the dates and time frames also do violated
the disciplinary proceedings .
Defendant . SWEE!' changed his theory telling me he might won't issue me a DR-(which was false)
but that he will make sure I never get my sneaker ' s, lift, and insoles back, and he did that
as promi sed .
Hours went by and I ask c/o SWEET for my sneakers back he told me that he was going to call
Defendant CAPI'AIN DONALD WillIAMS, to see what williams want to do with it . time went by, I
ask Sweet again what happen he said that Williams was eating that he- (sweet) will call back
after a while hours of:-me being barefoot c/o Sweet did bring me a pair of chinese state issue
shoes similar to the ones a person on suicide watch wear, which shoes offer no support on
your feet nor the arch. prior to receiving those shoes I was there for hours with no socks

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or sneaker's that showed from the very beginning the defendant's had a desire to inflict
pain, suffering and harm to the plaintiff, there is video camera that wi ll show the defendants
act. On that same day SWEET told me it seen like I won't be getting my sneaker ' s, that he will
hold them until the next day and that he will call me back on 6- 16-16, he never did call me
but instead I did received a "DR", they all were just retaliating again the pl aintiff who
had wrote them up, try to seek outside ~elp.
C/0 SWEET did acted in excess of his statutory authority since at the time his job title
assignment was admission as to who was just arrest, return back to jail on any type of
supervision violation, or was getting release as of EOS Oll'.i' on bail, but not property, when
that shift property was present defendant Kudzal.
On 11/16/15 Defendant ' s STADAI.NIK & KUDZAL were the ones who personally with the help of
some inmates did inspected the plaintiff personal property during my transfer there from
Garner C.I so why the sneaker's taken from me by Sweet wasn't an issue back then when
STADALNIK, was the unit manager of the Admission & property area plus a supervisor for
custody in general he is their boss .
before I was transfer there on~ll/16/16 both of them already knew I filed suit ' s and are a
litigator, that I had just finish a twenty-(21) one days hunger strike with a broken right
hand that it was swollen, and black & blue-pur:ples and STADALNIK did nothing no ice, no
medical emergency attention, no food, so if he as a custody supervisor of the A&P area who
job duties is to take inmates traasfer there, court trip's, arrest's, discharge's, and he
did nothing didn't care about the pain~the plaintiff was going through he could care less
about the plaintiff suffering and his sneaker's.
so who on their right mind properly trained accepted a transfer of a prisoner who got there
injured with broken bones and on top of that won ' t get the prisoner to an outside hospital
for treatment that is to be consider a crime against humanity under the torture clause. the
leas t he could have done was to open an investigation as to find out how that inmate got
there with a recent injury and with no paper-work stating any fact about that injury from the
transferripg other facility.
I let DHO Eberle, know defendant Stadalnik used his badge,uniforn, and authority for personal
gain while acting under color ot State law by telling me he was going to go and speak with
Lieutenant Jeffrey Conger, who at the time was the facility Disciplinary Coordinator, the
Unit Manager for segreg~tion, punitive and administrative-segreagtion, and the hospital
so the "DR" Stadalnik signed against me for the sneaker's goes forward and a guilty finding
be executed against me in a malicious manner. so Stadalnik did poison the "DR" whole process
so I won't get a fair decision.
The sneaker's were allowed since they were i n compliance with the Directive Matrix,Facility-
and unit security level-4.ssee ; Administrative Directive 6.10 Inmate Property page 2 of 18
Section: (K) . PROPER'IY OFFICER, and Section: (4) . INMATE PROPER'IY MATRIX.
Upon arrival at or to any State of Conn Facilities during transfer, each inmate "SHAU." be
allowed to retain personal property in accordance with Attachment-A Property Matrix pursuant
with A.D 6.10 each item specified Shall be itemized during admission and record on Form CN-
61001- Inmate Property Inventory Fonn. see; A.D 6.10 page 3 of 18 Section: (5). ADMISSIONS.
any retained item which requires inventory by attachment-A "SHALL" be listed using accurate
descriptive information including size, color, make or brand and serial or identification
Number. see; A.D 6.10 page 3 of 18 Sec: (5)-(A). INVEN'IORY DETAILS.
that was to be Defendant Mr. Kudzal jod to do On 11-16-16 under the supervision of Defendant
STADALNIK during my transfer and he did on that date Kudzal came inside the A&P holding cell

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and look at the sneaker ' s i n question, he documentee: it on the Form- CN61001 al lowing me to
keep them, and telling me I can ' t have the Jordans, and when I was already inside the housing
unit ' s in general Population defendant Kudzal did at least three- (3) matrix inspection' s
and there was never any i ssue with the sneaker ' s defendant sweet confiscated from me on
6/15/16 a year l ater, thi s showed clearly he was prejudice , act i n a retaliatory manner, and
did act at the same time in excess of his statut ory authority.
A.D 6.10 page 3 of 18 Sec: (5) - (B) . Unathorized Property . and Sec ; (5)(C). Inmate Signature.
do not authorized any of the defendant to give a "DR" to the plaintiff for refusing to sign
any Form. that i s to mention defendant Sweet admitted there was a color photo of the same
sneaker's inside the plaintiff central property file, so how can the plaintiff be punished
given a DR not alone be found guilty if it wasn't a personal matter by the defendant ' s
against the pl aintiff . OHO-Eberle let all of the above evidence out.
plus prior of becoming a property officeri:the c/o have to be train .
On 6/29/16 at: 8: 31 AM Officer LUIS-VELASQUEZ, out of Macdougall C. I. for mer propert y officer
send an email to defendant Jason Nemeth, the disciplinary i nvestigator at Corrigan CC to let
Nemeth know that when Velasquez was the property officer at Macdougall C. I. from January 2013
to May 2014, t he plaintiff was allowed to order sneaker ' s from an outside vendor- (eastbay),
and that was approved by upper administration due to the plaintiff-(sosa) not bei ng abl e to
purchase his sneakers through corronissary . that was enough evidence not to issued a guilty
finding and return back the snaeker ' s but stil l with al l of the evidence f avoring the pl aintiff
the OHO-Eberle choose not t o be f air.
I 'DISCIPLINARY COMMITIEE''

As opposed to other States Connecti cut Disciplinary Prison System procedures do not have a
committee that include Non-Correeti onal Officer's they al l are Correctional Officer ' s, in
cases the DHO came from who know' s where but whether she/he know the c/o ' s from pri or working
together as c/o ' s , or had some source of intimate relationship, live in the same town, is
the truth and really compl icate it . e . g., lieutenant Jeffrey Conger mother is the staff
Radi ology tech in that jail a violation of code of et hic ' s and policy so he is the disci plina-
ry Coordinator his mother issued any inmate's a "DR" you be in a no win situation .
Cl.A1M XX: Violation of my 14th, 1st, and 8th amendment to my U.S. Constitutional Right ' s to
            to proper due process, right to express my self, speech, and the right not t o be
punish or r etaliated against, and the r i ght to be free from cruel and unusual punishment .
claim-I through Claim-XX are incorporated as if fully re-stated herein.
SUPPOIITING FACTS: I was already housed in the prison segregation housing unit when I did
choose defendant: Ms. T.RAMOS, to be my advocate so she can assi st me i n gathering the evidence
and witness t o aid i n my defense since there was staff ' s, at torney ' s, and assistant attorney-
general at other l ocation ' s I couldn 't cont act my self. ColJIPare Eng V. Coughlin, 858 F.2d -
889, 898 (2d Cir. 1988)(requiring assistant for prisoners in pre-hearing segregation) .
On 6/21/2016 she went to see me in se~egation at: 1:35 PM I l et her know what happen, how
I got the Sneaker ' s that I was authorized at Macdougall C. I by the warden at the time it was
Defendant Peter J . Murphy ,




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- -..:=~==.,...,.....a--:l..de¥6ld,.l,~~ .i.....ui~oL1 4th Amendment ' s to my; U.S. Const.i.tuti-0i::ia.J.-RigA.t,o.
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      claims-I thtu claim-XXXXVIII, are incorporate as if fully re-stated herein.
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     SOPPORTINGIFAcrs: f ailure to train, to supervise and discipline staff's with respect to
   treatment of inmates supported county liability and since the prison is inside the reservation
-ttrey're-actingcrs c ity, or-coonty-governrnent::7-g ., if a public utility company-that-provide
   streetli hts owe a dut to the eneral ublic to ro 1 maintain the streetli hts and can be
   held liable fr injuries caused by a non-functioning light. "[t]he existence of a duty is a
   question of l bw.•. If the court determines, as a matter of law, that a defendant owes no duty
                 I
- t--0-a- l=)J:a;iJlt-Hf-,-a-V&"- Gi~sae,a.~i-x:eGt.ee-BeGause-i-t-i..s-mer- e ~eaGI:l-.iR9-mGFe-speee4-,½r-ai:i-d- - -
   directly a resul t which would inevitably be reached in the end. " Unless some relationship exists
   between the i;:,erson injured and the defendant by which the lat ter owes a duty to the former .




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        Continua ce f rom pa g e- 3 of Sectio n : D. "Ca use of Act i on"
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        CLAIM LI : 1 Violation of my 8th & 14th Amendments to my U.S. Constitutional
                            Right ' s. Cl aim I thru Cla i m tl , are i ncorporate as if f c.tl-±y--re-=-s-t-a:-t:~efl
                                                                                                                    d-
        herein:

        Supportiqg Fact s: DEFENDANT .corr Officer SHANNON BOWER                                     , On October 21 , -
        2016 I w~ s placed in Restrictive Housing Uni t I was i ssued a class A d i scipl i n -
        ary Repo        t     Report Numb er: CRCC1 6 100'87 , by Repor t ing~ , y e e -G e - ~l:),a.,i,l..........,---,
        Offic                                        h r e _was: Public Indecency all of my new street
        Christma~            clothi ng package ' s , five bottles of fragance oils , e . g.s T-shirts ,
        towels '    Jmean all of my stuf f ' s that I was allowed to get send in by fam i l y
        t hat yo u c an ' L gel no more send-il'l i t wa-s- t;-1'l,F e,w.a-a-wa¥,-on purpose that n i ght
                                                      was pack and inside my locker in a plastic bag
        a blind , erson was able to see that was not garbage, On November 14 , 2016 I
        filed a         est/Damaged Pr operty Inves iga                                            o perly I nvestiga-
        ·: o n-No • ;
_ _.._t:t
      ...,                  1 4·9-+1-1-6-{-P..) ,-G.R- 14-/-l-S-,L1-.6-i.L..wa s prace s s by t he def end ant KI MBERL Y
        DALY , and On 1/20/ 1 7 it was signed by defendant A.SANTIAGO , who at the time
        was the warden of that jail , they admitted that my persona l                              property were-
    ,   accidental y             i spo s e , so      ey on y      f e r to r e p l ace my- st u-£-£- n e -t :- evea--w-i- t:-H
                                                                                                                             h- - -
- G Grnm.a-s-s~              pl.lrcha se sol a b ¥-a,. tlri vate vendor that the pr i 's on deal with BUT
        NOT instead I was only offer to give me state issued T-Shirts & few Boxer ' s
        I was like a r e they for real & yes they was so I denied that state issued
        cloth es o v er Ehings my love ' s / fami ly send-~                             t-h-em t h a. t.-th.ey can Jet
        my family s end           me t he items that it was accidentally disposed of , as usual
        I will pay for it a ll they have to do i s allow my clothes & five bottles of
        oils that they don ' t allow no more, so I was t a k i ng care o f my li:t t l e things
        Lo mc:rke tl: t      l as t-me-pl--us it hav.e-s e R - t ; . i . ~, so they t old me I have
        the option to file a property claim with the defendant ' s own board , whi ch
        is anoth~ r one of their jokes , that board can ' t NOT offer me no remedy at
        law, since I don' t want money I need for                     me t o be al l ow t o repl ~ ,~          --- - - - - -
~            e-F-t,.) _t;.l=la -t-i-s-wJ1a t   i s goi og ta mak e me & help me serve my sentence a
        little      it more comfortable and the defendant Kimberly Daly failed to do
        that th t i s handled at the facility level s i nce she was t h e adm1n1stra i ve-
        remedy J oordina tor a t t h e t i me therefore her o wn-pe-l-i-e-y~-i-v-e---1:l-~hat po.wer
                                                  shal l know she had       and the defendant ROBERT MARTIN ,
        who at               time was the deputy warden of operations ,




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                                   Case 3:20-cv-00382-SVN Document 10 Filed 09/15/20 Page 121 of 133
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       Continuance from p a ge- 3 o f Section : D. "Cause o f Action"

       as such he job title is: Facili t                                                 Incomin                                  Re view Coordina tor (FIPRC)
       which is                efined as: The un i t Admi nistrator at the facility shall designate
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                     .....,                                                                             .Fa o i 1 i t y-:E-fl€em-i-R~-Pre-~ e-r""- - --
                         j ....J..i..,,t_J(,f,-_,_.,......,oJTl i a g pr.ope rt y R,e.\Z.i.ew-CoG-:i;.d-i..fl-a..t;.e..:i;:..-~
     t y Review Coordinator shall be at the rank of Deputy Warden and be responsible
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                      e'--"'a- t==-...,,,_=·......·.....,g_ cu ;:__de.ny~ of a J J reguest s fo;i;: i :r+G-Om-i- ti.g-p.J;.G-i ;>e.-i;.t-y~m,ss-..-
                                                                                                                                                , - - - -:
     inc l uding but not limited to , outside tapes and compact discs (CDs). see ;
     Administr tive Dire c t i                                              ~ r t y pa .ge._1 a£ 18-Sec±.ion:-(..c.),_ _ _ _ __
                                    they choose not to remedy the wrong having the power to do so , as
       a matter df fac t the plaintiff was allowed to get his last christmas clothing
~       a e-k-a-~e-a-el s-ame-f-a-ci i i Ly year s pr :tor t o the inc i d


    CLAIM LI I:                   iolation of my 8th & 14th
- - - - - - - - '-R-1'-nht-1-s-eiailTr-":r-th-rcr-e-J:a i Ill
    __ herein:
  Supporting Facts : DEFENDANT: Cor r Off icer Mr. John Doe                                                 , On
   Oct 21 , 20 16 did aid in ack i n m                     ersonal ro ert out of m cell durin 3rd
              wen his co-worker put me in segregation due to a Disciplinary Report C/O
          Shanno Bower i ssued to this plaintiff accused of a class- A offense char e
--Pu ic n rcency w 1 e I was inside my ce                            r eport Number : CRCC1610087 , he did
   admit t o t e p l aintiff that he did was there and help packing my property and
                      or er          row my persona new co es y mista e in                      e garbage , oils
                      /Damaged Property Investiga tion For m-( CN 9609) was completed by the
~   latrrn.'T , p oper y i nves i ga i on o . : r41>~ 17-1 6 ( P) , bu t they didn' t want t o
   allow them aintiff to get his property replace with the same type of value &
- -quatl--ty'"7J       ers--crrra-1 propery NOT insteaa           ey wan i       o provi e          e p ain i
   with stat~ issue items those items are not provide by a private vendor instead
   iL S"a.""rct-c-~+ear ly i t i s owrr try- t he sta"te s i nce it is made b y the s t a t e so wh a t is
   the purpos~ , in fact I was not getting nothing , at any gi ven time any other c/o
- coul d ha'V'Ef½ usL Lake iL f r om me o r i f dalncr~e~ e v m ~ y agai n I c a n ' e- n -1-e- --
   no c l a i m J ince it was free state cheap issue i tems make by inmates f or inmate ' s
- t-h.-a-t::-my--pei--se-na::1.-p-rcrpe r Ly was r ep i a·ce-d with , & Lha L wa--s-tl1e o n l y-1:'h i ng they on 1 y
   offer to tfue plainti ff there wa s mor e th i ngs in t he Lost/Damaged Property -
--3;1w-e -s-H~-a-14fef l - F - ~ - l - L : s - et:c , that t hey-d±tln ' t even mention-to r epla."C't::d
      it wa s al ~ a big joke to t hem al l .

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Continuance from page-3 of Section: D. "Cause of Action"

CLAIM LIII:   Violation of my 8th & 14th Amendment to my U.S. Constitutional Rights.
              Claim-I thru Claim-LIII, are incorporate as if fully re-stated herein:
supporting Facts: DEFmDANI': corr Officer Mr. M:>RIN, On June 17, 2016 he did packed my
personal property out of unit-H cell- 108 after the plaintiff was placed in segregation
incident report No.: CRCC2016- 06- 092, pending the outcome of criminal charges for two- (2)
counts of violation of Conn. Gen. Stat. §53A-174A criminal Docket No.: K21N-CR16-130721-S,
after my former cellmate ROLAND EUELL #377356 told them the plainitt was in possession of
of those weapons to defend himself from the staff ' s & inmate ' s. defendant MORIN in
retaliation when he got to the facility A&P area in the present of property inmate worker
'IONE PUPA did savage the plaintiff property and trow away all of the plaintiff personal
brown legal folder ' s, On 7-8-2016 defendant Robert Martin, wrote back to the plaintiff to
cover the wrong action of his coke-head subordinate c/o morin telling the plaintiff that
the folder ' s were not authorize, the plaintiff have evidence that does legal folder's were
authorized by the facility counselor prior of the plaintiff attorney mailing a large volume
of the plaintiff legal files to the plaintiff at that facility the plaintiff will provide this
court with direct clear evidence of such lie, on 7-11-2016 the plaintiff did filed a Lost/-
Damaged Property I nvestigation Form (CN9609) the one it was never process by the defendant
and since the plaintiff was placed on Grievance Restriction by defendant correctional -
counsel or Ms. Michelle King, he couldn' t file no grievance on the issue, nor could the
plaintiff get any injunctive relief by filing a claim with the defendant property board,
nor with the claims corrmi.ssioner office, since what the plaintiff needs is his folder 's
to keep his legal docwnents in there, and the defendants don't want to provide the folder ' s
don ' t want to allow the plaintiff to order it from and outside vendor, neither they don ' t
sale it in the defendant's prison commissary.
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                     CONTINUANCE FROM PAGE-3 OF SECTION: D. "CAUSE OF ACTION"
CLAIM LIV: Vi ol ation of my 8th and 14th Amendment to my United St at es Cons t i t uti onal Right ' s
           Claim-I thru Claim-LIV, are incorporate as if f ully re-stated herein:
Supporting Facts: DEFENDANI': Chtu:stina Carole Wright, On October 26, 2016 did di scontinued
t he plaintiff psychiatry medicati on treatment I was put on by Psychiatric Doctor Henry Crabbe
whi ch was 450mg of Wel lbut rin, and 150mg of Zolof t, t he pl aint iff doesn't have an idea as to
why the defendant deli beratel y removed the plaintiff 6ff his on going care treatment, beside
doing i t i n a mal iciously ana sadist ical ly way for the very purpose to cause harm and mental
anguish to the plaintiff, her conduct was wanton , reckless and malici ous bad, ,faith intent to
injure t he pl aintiff , her select ive treatment t oward the plaintiff was based on i mpermissible
consideration, bad fai th i ntent t o i njure the pl aint iff . see; Skehan V. Village of Mamaroneck, -
465 F.3d 96, 110 (2d Cir. 2006) , overruled~ other grollllds EY_ Appel V. Spirion, 531 F.3d 138-
(2d Cir. 2008). in whi ch treat ment by the defendant agai ns t the plai ntiff was not reasonably
relat ed t o any l egitimate penological i nterest. See; Phillips V. Girdich, 408 F.3d 124, 129 -
(2d Cir. 2005).
at the time the plaintiff was di agnosed with : 1). Recurrent Ma jor Depression ,
2) . Paranoid Tendenci es , 3) . General ized Anxiet y Disor der, 4) . PTSD, 5) . Severe Att achment -
Di sorder, 6). Attent i on Deficit Disorder, 7) . Mood Disor Eler11NOS , 8) . Int ermittent Explosi ve-
Di sorder NOS ,_9). Impulsive Cont rol Disoder, 10) . Ant isocial Personality disor der,
11) . Sel f Imposed Hunger Stri ke •• There are tri able issue ' s on the subjective prong of the
pl aintiff ' s cl ai m' (s) for deliberate indifference , due to the absence of wri tten notes to
support APRN MS. Wright deci sion t o S'IOP! medicat ion t herapy. e . g., see;
Raudell Mercado V. Dep't of Corr. , U. S.D.C. (D.Com.), Case No. 3:16-cv-01622; 2018 U. S. Dis t-
LEXIS 87681. OLSEN V. I.AY'ION HILLS MAU, @12 F.3d 1304, 1316 (10th Cir. 2002)(holding -
obses sive-compuls i ve disorder can be a s erious need). Langley V. Coughlin, 888 F.2d 252, 254-
(2d Cir. 1989) .("we think i t pl ain that from the l egal standpoint psychiat ric or mental heal th-
care is an integral part of medical care.").
On her written medical notes- (10/26/16 at 2PM) she put that there was no evidence of psychosi s
presents as calm & cooperat ive, even wi th medicati on down di scontinued- (D/G) discuss l abs &
D/C Wellbutrin- he (meaning me the plaint i f f) disagrees plus - (+) insists on more medi cati on-
(meds), but 1- (meani ng her) want to evaluate labs off meds , thyroid- (?) (A) ASPD general ly-
stabl e ('tcket for masturbating) (P) D/C wellbut r in obtain labs , RTC- ( I guess t his mean return-
to car e) 6-weeks (after labs done), t i me went by the labs were done and she didn ' t return me
back to my r egular care I did object to her decision in terminating my car e al so in thyroid
testing but I still did t he test , whi ch tes t she never t old me t he result till thi s date I don't
know i t. she refused to put me back on the medi cati on ' s I was on but that she want to try me
                                                  (97)
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On another medication instead call CYMBALTA, which medication it is also good for pain, when
any of my physical conditions doesn 't professionally are of her concern ' s plus I was already
getting Gabapentin & a patch, I then decide not to became her guinea pig, why is she trying a
new medication on me when I never did complaint to her in a bad way of the care I was getting
when she find me, that medication work fine for me.
She is an Advanced Practice Registered::.Nurse license# 6513, which license was issued on-
04/01/2016, and expired on 08/31/2017, she got a Registered Nurse License# 79713, she was
cert ified ·· . - . . · .  in silver Spring, MD 20910-3492 as a Clinical nurse Specialist i n-
Child and Adolescent Mental Health, the certification dates are March 14, 2012 to March 13, -
2017 with the clinician' s certification# 2011018476.
But she is not certified in t he State of Connecticut to work as a Psychiatric APRN, she is
not even license for that in this state prior or her being hired by DOC and Uconn Health -
C.Orrectional Managed Health Care- (CMHC), there is not record by the State of Connecticut
Verification of Licensure at the time the plaintiff did request the defendant credential's
who so ever, therefore it can be say that at all times she did interact with the plaintiff in
a professional manner she did act in excess of her statutory authority, she did not know what
she was doing, the pl aintiff is a grown men not an adolescent, not a child, how could she have
be permit to practice in t his state in top of that treat patient ' s in a prison, how cruel
could this be.
As a result of the defendant taking me off my medication psychiatry care I start to feel
paranoid t endencies, anttsocial, something start to happen to me that I start to make weapon's
to defense me self from inmate's & staff ' s I ot i n trouble was facing to count of criminal
charge that carry one- (1) to twenty-(20) years7 so I was facing a total of 40-year sent ence on
top of the time I am serving for a double murder, the judge recommenrl a one year sentence to
be serve consecutive to the murder charges adding to a total of 43-year sentence the judge
al so did order for OOC to do a psychiatry evaluation on the plaintiff the one still to this
day DOC haven't conduct one, I guess maybe cause the defendant is not license to perform one
also since the prison at the time C.Orrigan Corr Center didn 't have a Psychiatry PhD, MD coul d
have been the reason why the court psyehiatry evaluation r ecommendation was not follow or just
only cause they don't care as usual.=the plaintiff have been incarcerated for a 25-year period
in-which most of his time was spend in iock up not general popul ation, His DOC prison record
include many other thing's e.g, stabbing~ threat ' s, causing disturbance , public indecency,
the ~laintiff had spend lot ' s of time in segregation which time if add together add up to
years , so how i s the defendant going t o STOP! my medical psychiatry care treatment cold turkey
the duty of care owed to prisoner ' s is the same as that owed to private patients . see;
Bowers V. County of Essex, 118 Misc. 2d 943, 461 N.Y.Sup. 1983)(doctor must prescribe appropriate
care even if the sheriff refuses to approve i t ) .
The defendant erroneous treatment decision was made in the absence of professional jud&ment
leading to deliberate indifference liability. Johnson V. Doughty, 433 F.3d 1001, 1013 (7th -
2006). she was grossly incompetent to my mental care, was inadequate, and so excessive as to
shock the conscience, so inappropriate as to evidence intentional maltreatment in violation
of plaintiff 8th amendment C.Onst Right.




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                    CONTINUANCE FRCM PAGE-3 OF SECTION: D. "CAUSE OF ACTION"
Cla:im LV: Violation of my 8th and 14th Amendment to my United States Cons titutional Right's
           Clai m- I t hru Claim-LV, are incorporate as i f fully re- stated herein:
Supporting Facts : Defendant: Andrea C. Rei scherl, did co-conspir ed with defendant Chri stina-
Car ole Wright, to violated the plaintiff Const Right and by doing so depriving him of the
psychiatry medical care her-(Rei scherl) sel f did t reat it the pl aint iff f or many year ' s , ON
March 17, 2017 she send the pl ai ntiff a l etter in response to the pl aintiff concern regarding
defendant Ms . Wright, deni al of mentai~health care treatment, she al so inform the pl aintiff
that she was aware I had contact the St ate of Connecti cut former office of pro tecti on and
advocacy persons with di sabilities- (this offi ce was put out of services year ' s ago by the state-
government him sel f therefore ther e is no more office to protect disable people in t his state)
on this l etter she s t ated that her office does not provide the direct care for persons who are
incarcerated. The office provides oversi ght to ensure persons incarcerat ed receive appr opriate
car e f r om the cont racted health care vendor, (i.e., Uconn Health Care) correct ional Managed-
Health Care- (01HC), so her duty was to make sure defendant Ms . Wright provi de me with medi cal
psychiatr y medication car e .
in her l etter she goes on by stat ing she have reviewed my clinical record and have discussed
your case with the current psychi atric provider at Corrigan, Christi na Wright APRN, and that
Wright i nformed her that during my last appointment wright did revi ewed my hist or y of
t reatment wit h psychiatry medications and the plaintiff response to those medications. and
that Wright al so mentioned offering t he pl aintiff two different antidepressants that can
address not onl y depressive symptoms but al so address your chronic pain issues . . that i t is
ver y common when people have comorbid medical i ssues to choose a medication t hat can help with
both. that Wright also inf ormed Rei scherl that I t he plaintiff declined those opt ions and
wanted only Wellbutrin.
she then went on avoiding the r esponsibil ity by stating her office cannot direct CMHC empl oyee
to prescribe a medication if they feel i t is not an appropri ate medication , for the pl aintiff
to wor k wi th the ment al health clinician-(Ms.Wright) at the facility or for me to do her dut i es
and write to Ms. Wright supervisor at Uconn Health Mr. Dr. Robert Berger. Ms. Rei scherl, did
choose t o disregar d her duty of care owe to the pl aint iff si nce she was working at the cent ral
offi ce for DOC i n the DOC Commi ssioner of f i ce in the office in. charge to look over such denial
or l ack of care but i nstead she decide to act wi t h deli berate indi fference to the plainti ff
serious psychiatry care need ' s.
When this defendant her self fo.r-year ' s at corrigan did t r eat the plai nt iff with the same
medi cati on prior of her leaving that job a corrigan Corr Cen ter to her new job that is when
def endant Ms . wri ght, went ther e to work on that open posi t i on defendant Rei scherl left the
plaintiff on that psychiatry care treatment since she was the fir s t one who di d prescribed it
her self so she went against her owa care t reat ment.
CODE OF SILENCE: Ms . Reischerl just want i t to adhere to t he DOC code of s ilence Indeed , it
i s the s t andard operat ing procedure of the Department of Correction t o adhere t o a strict code
of silence whenever complaints are made against fellow department staff ;
Upon information and belief , no empl oyee of the department has ever been disciplined, internal ly
for unl awful act' (s) for del iberat e indifference and/or negli gence, for obstruction of an
official investigation or otherwise . she know that untreat ed mental ill nesses can l ead to
outbreaks of viol ence, making conditi ons l ess safe and secure a reason as to why the pl ai ntiff
was acting out and was criminal ly charged .



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                   CONITNUANCE FROM PAGE- 3 OF SECTION: D. "CAUSE OF ACTION"
and the defendant coul d see that what defendant Ms. Wright was t rying to do was to save money
by t rying to give the plaintiff Cymbalta a medication that according t o them also can target
pain, when the plaintiff was already taking medication for his back injury pai n nor is any of
my physical medical inj ury problem mental health staff ' s concern from a professional point.
defendant Reischerl ,was aware of the plai ntiff medical & mental health needs not being meet
since 2015, she wrote back answer to the pl aintiff letter ' s to her office On October 22 , 2015,
January 5, 2016, and March 17'., 2017, so it is onl y appear to t he pl aintiff that he was removed
of f his psychiatry medical care medication t o save money or for puni shment, against the ruling
i n Es telle V. Gamble , 429 U.S . 97, 97 S.Ct. 285 (1976).                ,
Now seeing that the plainti ff was having no help with the defendant of fice he went and On
January 12, 2017 contact the former State of Conn Office of protection and advocacy for
persons with disabilities in regard of t he l ack of mental heal th care and the defendant ' s
changing the pl aintiff medicati on by stoppi~g i t cold turkey On May 22, 2017 the Human -
Services Advocate for this office Mari a V. Cruz, did contact the pl aintiff who then did open
an investigat ion .
Ms. Cruz contact defendant Rei scherl, office who then t old Ms. Cruz that the reason ' (s) the
pl aintiff was removed of the welbutrin medicati on was due to fact in was contraindicated in
the plaintiff case given his chronic pain and self-reported treatment resistant depression,
so that the plaintiff was offer ed EI.AVIL or CYMBALTAwhich are cl inical ly appropriate. the
pl aintiff have no i dea fr om where the defendant Ms . Wright got t hat information from when the
pl aintiff never did complaint to her about his on going Wel lbutrin medication is anything that
have been the one medication that have work for him, her s t atement was not suppor ted by written
medical not es whi ch make it more of a third party hearsay stat ement.
she goes on to tell Ms . Maria t hat an Advance Practice Regi stered Nurse (APRN) or doct or have
the discretion to change a person's medication regime as long as there is infonned consent,
(and that is the problem the plaintif f never di d give Ms . Wright any consent if anything wri ght
wrote that t he pl aintiff disagree) . In terms of discontinuation, a prescriber may decide to
discontinue a medication when there is cl ear and convincing evidence t hat the medicati on is:
either not beneficial to the person, or the risk out weighs the benefit . now this is a main
triabl e issue of mat erial fact ' s t o be det ermine by a jury t rial.
Then On March 22, 2017 5:09 PM defendant Reischerl send an email to Ms. Maria Cruz stating:
the pl aintiff has reported multipl e t imes over his OOC history that i t did not wor k for him
and/or r equested to be ~aken off for side-effects. that t he plaint iff has a his tory of
documented hoar din of the Wel l butr in medication b t e nurses . Als 9 given that t he pl aintiff
was en or sing ope essness an passive su1c1 a ity on t e e butrin. given that it is
clinically appropriate to seek alternatives not trialed and not restart the wellbut rin at this
t ime . , and that that was what she thi nk, not what it was t he professional thing t o do also
if the plaintiff was hoarding the medication where it is t he disciplinary report or any
document ation's at all times the pl ai ntiff went to get his medication it was at the medical
unit window where oat only the nurse do a mouth check but there is also a Correct ional Offi cer
present, so where is the document ation to support those al legation ' s.
as she said if the plaintiff was feeling suicidal why t ake him off his medication when he didn' t
consent to STOP ! his care al l those false allegations by defendant Rei scherl APRN was done
onl y to ai d defendant Ms.• Wright in covering up her wrongfilil act , remember they ' re APRN not
Doctor ' s. on this same above date defendant Rei scherl did via email send notice to defendant ' s
Craig Burns , her supervisor and t o Robert Berger, defendant Ms. Wright supervisor at the time.



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It wasn't until the plaintiff was transfer back to Cheshire C.orr Inst that sometime in June of
2017 Psychiatrist DoctorMs. MAXINE CAR'IWRIGHT, MD. did start the plaintiff back on the
Wellbutrin-(Bupropion-XL) that when she saw the plaintiff the plaintiff was in so much mental
anguish that she start the plaintiff a 300mg of Welbutrin after around two-(2) year's Dr. Ms.
Cartwright was transfer to Brigetport Corr Center. so on July 05, 2019 defendant Andrea -
Reischerl, came to the facility the plaintiff is housed Cheshire Corr Inst since the prison
at the time didn't have any Psychiatrist Doctor or APRN to cover and this same defendant did
renew the plaintiff Wellbutrin medication treatment that show clearly how she did contradict
her self how it is all a lie all she did told Maria Cruz, and it also show how it doesn't
really matter to then as to what is wrong or right they as staff won't go against theyir DOC
co-worker's, because why she didn't object if the plaintiff was hoarding, or the medication
was not beneficial or the risk outweighs the benefit.
Defendant Reischerl action of Fraudulent .Concealment at the time Mtn Maria Cruz was conducting
her investigation in to Defendant Christina Carole Wright, was an acted of practicing the DOC
code of silence, failing to have and use the knowledge, skill and care ordinarily possessed
and employed by members of the profession in good standing. W. Page Keeton et al., Prosser
and Keeton on the law of Torts § 32, at 187 (5th ed. 1984).

The defendaDt failed to utilize ordinary knowledge, skill and care both in diagnosis and in
treatment.Y~suf V. United States, 642 F.Supp. at 428.
Claim LVI: Violation of my 8th and 14th Amendment to my U.S. Constitutional Right's
           Claim-I thru Claim-LVI, are incorporate as if fully re-stated herein:
Supporting Facts: Defendant: Craig Burns, Psychiatrist Doctor, is the chief of Psychiatric
Services for the whole DOC in the State of Connecticut his duties and responsibilities is to
oversee the care provided to inmates in prison general population, he is also the primary
supervisor for all & every psychiatrist doctor's or APRN, and psychologist who work within
the DOC prison wall's in the Conn prison system.
I wrote to him several times to let him know about the wrong done to me by defendant christina-
carole Wright within the last time October 13, 2016 but he never did reply back to my letter/-
request, instead who~appear to reply back to my letter is his assistant defendant Andrea€. -
Reischerl,
the defendant duties is to ensure prisoner's receive appropriate care from the contracted
health care vendor in this case from the Uconn Health Care Center C.orrectional Managed Health
Care (CMHC) so he is there to m:s;ik e sure that the duty of care owe to the plaintiff by the
conroissioner of DOC is fu:Ifill. see, e.g., Satchell V. Dilworth, 745 F.2d 781, 786 (2d Cir. -
1984)(holding correction and parole commissioners could be named as parties "at least for
purposes of discovery aimed at identifying those of their subordinates who are personally -
responsible for the departmental actions complained of',' ).
Nonetheless the defendant is liable under the respondeat superior doctrine citing;
Ashcroft V. Igbal,_ _U.S._ _,129 S.Ct.H:937, 19(J9 (2009). also see;
~ey v. Lavalley, 2009 "WL 5219027, *3 (N.D.N.Y., Dec. 31, 2009)(restating rule permitting -
9iscovery after Iqbal).
Toe defendant was put on notice of the plaintiff de~ial of medi~ation via em~il's by hi~ own
subordinate defendant Andrea C. Reischerl, so he failed _:;_ knowingly to termina;e a s7r1e~ of
acts by others, which he knew or reasonably should have Known would cause others to inflict
constitutional injuries, he is liable for culpable action or inaction in supervision, and
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control of subordinates, for acquiescence in the constitutional deprivation by subordinates;
or for conduct that shows a "reckl ess or callous indifference to the rights of others."
Claim LVII: Viol ation of my 8th and 14th Amendment to my U.S. Constitutional Right ' s
            Claim-I tbrou Claim-LVII, are incorporate as if fully re-stated herein:
Supporting Facts: _Defendant: Robert Berger, Psychiatric Doctor, at the time was or it still
the director of psychiatric services the contracted health care vendor at Uconn heal th Care
for the Correctional Managed Health Care-(CMHC), therefore he at all time had direct
supervision of defendant christina carole Wright APRN, the plaintiff did wrote to this
defendant several times, in which no:.repl y was ever send back to the plaintiff ,
On March 22, 2017 at 5:49 PM this defendanLwas put on notice via email by defendant
Andrea ,C. Reischerl , in regard of his subordinate christina carole wright stoping the plaint iff
Wellbutrin medication, but still as a respondeat superior he knowingly fai led to terminate a
series of acts by other's, whi ch he knew or reasonabl y should have known would cause other's
to inflict constitutional injuries, he decide to become an acquiescence in the constitutional
deprivation of the pl aintiff right to his treatment by his subordinate, defendant christina -
Wright, he did exhibited conduct that shows a "reckless or callous indifference to the rights-
of the plaintiff.
This defendant i s liable as wel l under the respondeat superior doctrine. see;
Ashcroft V. Ir1>al, --,,-,-_U.S._ __ ,129 S. Ct. 1937, 1949 (2009) . by doing so allowing the
continuance o such policy or custom ••




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                                    E. PREVIOUS LAWSUITS

1. Have you begun other lawsuits in state or federal court dealing with the same facts involved
in thira'ction?
  _V_YYees _ _No. If your answer is "Yes," describe each lawsuit. (lfthere is more than one
lawsuit, describe the additional lawsuits using this same format on a blank sheet which you
should label "E. PREVIOUS LAWSUITS.")

 a. Parties to previous lawsuit:
                         I
Plaintiff(s):   (\~DR.J:,)     sos"
Defendant(s): SC.D\l         S6t--,\J?L5 {,ot-,..,,1:w!>Sj,o\.lf.-U' o'"(- r.:t i)O(,. Cl , AL
                                                         H\\~--t:.>J~~n'34 8- S
  b. Name and location of court and docket number £vV,6R~o'fcuvft 2.c f R.~tJ\'°'\~ µ $Qvc-vlf~
  Ne. W ' \1~: \.~~ w.  c..\_, 0 'eO tH ~
  c. Disposition of lawsuit. (For example, was the case dismissed? Was it appealed?
Is it still pending?)
·w ,·1\-\Dl<\'.\\r\.f \N ~3 \.\ou::I PBS :r0D: ( E :::re \aG £: l<:!i , 0 -r l:\.\' 5 Cc) vtL-r
                                                             p


 d. Issues raised: "'\:t\e - ~ I\$\µ '\t,\ '1 S               :g;,(9£3

 e. Approximate date of filing lawsuit: J\.J    kf c...~-k_;::2_c:..._D---'-tY?-----
 f. Approximate date of disposition: SoN\\:.J:~~b \\f::CE.R. 3- J.O - 2.e>\7.

2. If you have filed other lawsuits in this court in the last ten (10) years that are not related to
the acts complained of in Part D, please list them. (If you need additional space, use a blank
sheet which you should label "E. PREVIOUS LAWSUITS.")
      '
.~b\~~~S S~S~ \J. 7:\-\f:..RE.5~ L\\:~.r12 DKJ Nt>".. 3·. 09e,vo3lo~(:r'6~
f\NDRES R, ... St> Sf\ \f~ Sr 0'17 $G ~"--P\E,r C•l½-l-,t..i -SSie>tve,[L of C~ITBGCi~(U5·~
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CONTINUANCE FROM REQUEST FOR RELIEF PAGE~6 Sec : -F.

The plaintiff pray this honorable court for the request relief:

A. Issue a declaratory Judgment stating:
1. The deprivation of plaintiff sneakers, medical lift, arch support sol es is a clear
   interfer i ng with plaintiff medical treatment in violation of his 8th amend rights.

2. By the defendants not providing the with the proper footwear size & medical lift they
   willfully have deprived the plaintiff of a basic human need.
3. By the defendant ' s not allowing, nor honoring the portion of the settlement agreement
that allowed for the pl aintiff to order his sneakers size 12-c they deprived the pl aintiff
of a human needs protected by the 8th amend U. S. C'ONST.
4. By the defendant ' s treating the plaintiff differently as those similarly si tuated like
him e.g. , allowi ng other ' s inmates to keep the same brand of sneakers that were confiscated
from the plaintiff is a clear equal protection violation protected by the 14th amend U.S.
Const at teh same time prohibited by the 8th amend U. S. Const as to be free from cruel and
unusual punishment.

5. The defendants restrictions on the plaintiff to not be allow to order the proper
footwear size from an outside vendor leaving the plai ntiff with no proper size shoes and at
the present time leaving the plaintiff with no footwear at all beside state- issue shoes i s a
cl ear deprivation of a basic human need protected by the 8th amend, and a violation of the
st ate and its agent ' s duty of care as those responsible t o the plaintiff safety and wel l-
being.
B. Issue an injunction ordering the defendants to:
1. all ow the plaintiff to order his proper footwear size from an outside vendor as he a l ways
did.
2. To honor the portion of the settlement agreement that al lowed the plaintiff to order his
12-c size sneakers from an outside vendor as permit by that porti on of the settl ement.
3. Prohibit the defendants by way of permanent injunction from interfering with the plaintiff-
settlement/agreement rights to or his sneakers from an outside vendor.
4. To order defendant assistant attorney general Neil Paril le, or the A.G-offices to make
sure the conn Department of Corretion & its agents to comply with the porti on of the
settlement/agreement allowing the plainti ff to order his sneakers from and outsi de vendor
and to by allowed to retain those sneakers at any level correctional facility he is housed
in the state of conn.
5. For the defendant ' s Medical Dept ' s clinical director ' s , IX>C & its agents by way of perman-
ent injunction to provide the plaintiff with a left leg lift and a podiatry doctor
consultation to treat the plaintiff conditions, & to ensured the IX>C agents do not interfere
again wi th the plai ntiff medi cal treatment and proper footwear size 12- c.
6. For the Commissioner of Corr Mr. Rollin Cook, and its agent ' s to immediately arrange for
the plaintiff to order his proper size footwear, be seen & treat it by a podiatry Dr. so
the plaintiff by provide with a left leg lift.
7. For the Commissioner of IX)C by way of permanent injunction provide for the plaintiff basic
human needs .
                        .\   -     •·
                                 . .. ..   I   J   •   •

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                                                                          2  0~     3.

8. For the defendant ' s IX)C and its agents to be order by this court as a remedy of an ::
   injunction to " [allowed] the plaintiff to order [his] shoes/sneakers as usual, to return
back to the plaintiff the sneakers the defendant's are still holding at corrigan CC that they
confiscated, including all other of the plaintiff personal property, to allow for the
plaintiff to replace all of his clothing property the defendants did admitted throwing away
on Oct 21, 2016, there is outside vendor the plaintiff can purchase the same type of clothes
they throw away.
For the defendant ' s to allowed for the plaintiff to replace all of the brown folder they
did confiscated and throw away to place his legal document's in there the plaintiff had
suffered an Irreparable harm since the type of legal property, clothes, and many items the
defendants had confiscated, destroy, or throw-away, there is a lack of an adequate remedy
at law since the property claims board offer by the defendant 1 s and by the Claims -
Commissioner in accordance with Conn. Gen. Stat. §18-81y only will provide the plaintiff
if so with money and the plaintiff need his personal property instead to finish his sentence.

9. Issue a declaratory Judgment stating also that Administrative Directive-
6.10 Inmate Property (hereinafter A. D 6.10) to guide officers in the DOC in
selecting the property inmates may posses if authorized for retention upon
admission to the facility, issued whi l e in custody, purchased in the facility-
commissary, or approved at the facility in accordance with (A.O. 6.10).

That (A.D. 6.10) is discriminatory upon the whole Conn DOC inmates population
in custody of the DOC since every level facility-(in the plaintiff case level-
4 facilities) have a facility Incoming Property Review Coordinator -
(hereinafter FIPRC) who is at the rank of deputy warden responsible for the
authorization or denying of all request for incoming property items such
power in denying incoming property item's in to the facility is discriminatory
in nature, it do created disparities between the inmates similarity situated
at the same l evel facilities, whether at another town within the same state
limits and under the same Commissioner of Corrections Custody Jurisdiction
The same power granted to the (FIPRC) created confusion , aggravations, -
Unlawful deprivation of property, economic loss , litigation cost, time
consuming, is against the inmates constitutional right as to keeping his
personal property, it coerced the Officer's to act in excess of their statutory
authority in violation of plaintiff's 1st, 8th, & 14th U.S. Const rights,
in this case including pain & suffering, deprivation of the plaintiff basic
human needs while having a clear state of mind.




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C. AWARD COMPENSATORY DAMAGES IN THE FOLLOWING AMUNTS :

   1. $350,000 jointly and severally against each defendant ' s for pain &
        suffering, interfering with the medical treatment once prescribed,
unlawful deprivation of basic human needs, emotional injuries sustained as
a result of plaintiff lift, soles , and proper size sneakers deprivation ,
for unnecessary infliction of pain and suffering to include physical injuries
sustained as a result of failure to properly train their ' s officer's and
agent ' s by the town and/or indian reservation authorities, & as a result
of all of the above mention.

   2. $350,000 jointly and severally against each defendant ' s for the
      deprivation of plaintiff sneakers , lift & economic loss that lead to
his permanent life injuries .

    3. $1,000 , 000 on future damages for pain & sufferings ' .

D. Award Punitive Damage in the following:
   1 . $250,000 against the defendant's due to the every single day the
plaintiff was without his sneakers , leg lift , & the lot of proper footwear
size, & due to the interference of the on going medical treatment.

F. Award the plaintiff any other amount of compensatory damages against the
   defendant's for the present & future harm as it may appear to this
Honorable Curt that the already injured plaintiff is entitled.

G. Award of cost and expenses;
H. Award of attorneys ' fees;

                                DEMAND FOR JURY TRIAL

      plaintiffs demand a jury trial as to all issues triable by a jury .
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                                    F. REQUEST FOR RELIEF
I request the following relief:

2 ,000 , 000. 00

                                           SEE ; ATTACHED




                                          G. JURY DEMAND

Do you wish to have a jury trial? Yes     L
                                                                     < •




Original signature of attorney (if any)          Plaintiff's Original Signature

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Printed Name ANDRES SOSA. # 2 60 5 89



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( )                                              ('l.<>3) (oS\-loOb~
Attorney's full address and telephone            Plaintiff's full addrss and telephone


Email address if available                       Email address if available


                    DECLARATION UNDER PENALTY OF PERJURY

      The undersigned declares under penalty of perjury that he/she is the plaintiff in the
above action, that he/she has read the above complaint and that the information contained in
the complaint is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executed at      Cb\65\.-\},'(e
                    (location)                                                ..
(Rev. 9/22/09)


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